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       1                                  NOT FOR PUBLICATION

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       3                         UNITED STATES BANKRUPTCY COURT

       4                         EASTERN DISTRICT OF CALIFORNIA

       5

       6   In re:                                   Case No. 15-29890-A-7
       7   GRAIL SEMICONDUCTOR, A CALIFORNIA
           CORPORATION,
       8

       9
                           Debtor.
      10

      11
           SEDGWICK FUNDINGCO, LLC,                 Adv. No. 18-2180-A
      12
                           Plaintiff,               HSL-2, FSL-7
      13
                  V.                                MEMORANDUM
      14
           MITCHELL NEWDELMAN et al.,
      15
                           Defendants.
      16

      17

      18
                            Argued and submitted on January 19, 2022
      19
                                     at Sacramento, California
      20
                    Honorable Fredrick E. Clement, Bankruptcy Judge Presiding
      21

      22
                 Appearances:   Norman Neville Reid, Erik J. Ives, Ryan
      23                        Schultz, Fox Swibel Levin & Carroll LLP
                                and Jeffrey I. Golden, Beth E. Gaschen,
      24                        Weiland Golden Goodrich LLP for Sedgwick
                                FundingCo, LLC; Ivan K. Mathew, Ivan K.
      25                        Mathew P.C. for Mitchell NewDelman, Frank
                                Holze, and Willis Higgins
      26

      27

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      1          These are cross-motions for summary judgment.    Each party is a

      2    creditor of debtor Grail Semiconductor: (1) plaintiff/counter-

      3    defendant Sedgwick FundingCo, LLC (“Sedgwick”), an affiliate of

      4    Gerchen Keller Capital, LLC (“GKC”); and (2) defendants/counter-

      5    claimants Willis “Woody” Higgins, Mitchell NewDelman, and Frank Holze

      6    (collectively the “NewDelman Group”).    At stake is $2.1 million on

      7    deposit with the Clerk of the Court, which are remnant funds from a

      8    now completed Chapter 7 bankruptcy by Grail Semiconductor.     Insofar as

      9    Sedgwick is concerned, also at stake is potential additional liability

     10    to the NewDelman Group of upwards of $2.85 million for breach of

     11    contract and/or common law torts.

     12          The source of the controversy is an intercreditor agreement

     13    between the parties.   Intercreditor agreements are contracts between

     14    creditors of a common debtor that re-order or, in some cases, confirm

     15    each creditor’s rights vis-à-vis other creditors.     Sedgwick contends

     16    it holds a superior right to the disputed funds by virtue of the

     17    intercreditor agreement.    In contrast, the NewDelman Group contends

     18    that Sedgwick owes it money for breach of the intercreditor agreement

     19    and/or for common law torts (including conspiracy to commit fraud by

     20    concealment) arising out of that agreement.

     21          The disputed funds are the proceeds of prepetition state court

     22    litigation by the debtor.    The Chapter 7 debtor, Grail Semiconductor,

     23    sued a competitor, Mitsubishi Electric & Electronics USA Inc.

     24    (“Mitsubishi Electric”), for breach of a non-disclosure agreement;

     25    that litigation consumed it for eight years.    Grail Semiconductor was

     26    represented by the law firm of Niro, Haller and Niro (“the Niro

     27    firm”).   After seven years of litigation, Grail Semiconductor needed

     28    additional funds to continue the fight; so, it took a secured loan
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      1    from GKC and/or Sedgwick using future proceeds of the Mitsubishi

      2    Electric action as collateral.    As a part of GKC’s agreement to fund

      3    that loan, it demanded that existing secured creditors subordinate

      4    their rights to payment from litigation proceeds.    GKC and the

      5    NewDelman Group attempted to enter into a pre-settlement intercreditor

      6    agreement, known as the “Priority Agreement,” for the division of the

      7    Mitsubishi Electric litigation proceeds.

      8          The court uses the word “attempted” purposefully because GKC, who

      9    last signed the agreement, added “Sedgwick FundingCo, LLC” as a party

     10    to, or third party beneficiary of, the agreement after all other

     11    parties had signed it.   The record does not indicate that the

     12    NewDelman Group ever accepted the changed terms of the agreement.

     13          The Priority Agreement designated the Niro firm to receive

     14    litigation proceeds into its client trust account and instructed that

     15    firm to pay those monies out to Sedgwick and to the NewDelman Group.

     16    And the Niro firm agreed to do so.

     17          Indeed, the Mitsubishi Electric litigation did settle.      But the

     18    amount of the settlement was not sufficient to pay all signatories to

     19    the Priority Agreement the amounts due them.   And, unfortunately, the

     20    Priority Agreement was facially ambiguous as to how the Niro firm

     21    should distribute proceeds in the event of insufficiency.    By

     22    describing Sedgwick as a “Second Priority” creditor and the NewDelman

     23    Group as a “Third Priority” creditor the agreement could reasonably be

     24    construed to require payment in full to Sedgwick before making any

     25    payment to the NewDelman Group.    But the agreement also required the

     26    Niro firm to pay Sedgwick and the NewDelman Group “concomitantly” (at

     27    the same time) and in “pari passu” (at an equal rate) suggesting

     28    simultaneous, pro-rata payment of all parties from available funds.
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      1          Aware that the settlement would not pay the Niro firm’s fees and

      2    all signatories of the intercreditor agreement the full amounts due

      3    them, Grail Semiconductor, Sedgwick, the Niro firm, and their

      4    principals cut a side deal for immediate and full payment of Sedgwick.

      5    The side agreement was reduced to writing, known as a “Letter of

      6    Intent.”    The Letter of Intent, and the Niro firm’s actions to

      7    implement it, satisfy all elements of a civil conspiracy for which

      8    Sedgwick is liable.   The Niro firm’s actions to carry out the Letter

      9    of Intent satisfy most of the elements of fraud by concealment.

     10    Having already agreed in the Priority Agreement to receive and

     11    disburse litigation proceeds to the signatories to the agreement, the

     12    Niro firm acted as the signatories’ (including the NewDelman Group)

     13    agent with respect to those proceeds and owed them fiduciary duties,

     14    including the duty of full disclosure.    Notwithstanding that

     15    obligation, the Niro firm did not inform the NewDelman Group of the

     16    terms of the Letter of Intent or of the Niro firm’s intention to pay

     17    Sedgwick, while paying NewDelman nothing.      Instead, the Niro firm paid

     18    Sedgwick.    By doing so, the Niro firm concealed a material fact from

     19    one of its principals, i.e., the NewDelman Group, causing injury; the

     20    only elements of fraud by concealment not resolved by this motion are:

     21    (1) the NewDelman Group’s inability to discover the concealed fact by

     22    reasonable inquiry; and (2) reliance resulting in damages.

     23          The bottom line is this.   A genuine dispute of material facts

     24    exists as to: (1) whether the NewDelman Group accepted the Priority

     25    Agreement, as revised to add “Sedgwick FundingCo, LLC”; and (2) if so,

     26    that agreement’s meaning.    Not in dispute are the facts showing: (1)

     27    the Niro firm acted as an agent for both GKC/Sedgwick and the

     28    NewDelman Group in the receipt and disbursement of Mitsubishi Electric
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      1    litigation proceeds and, therefore, owed each creditor fiduciary

      2    duties (including a duty of full disclosure); (2) Grail Semiconductor,

      3    GKC/Sedgwick, and the Niro firm entered into a civil conspiracy to

      4    defraud the NewDelman Group; (3) the Niro firm’s disbursement of funds

      5    to Sedgwick, without payment to the NewDelman Group or notice,

      6    satisfies all the elements of fraud by concealment (except for the

      7    NewDelman Group’s inability to discover the truth with reasonable

      8    inquiry and the existence, as well as amount, of damages); (4) the

      9    Niro firm’s actions in disbursing funds were within the scope of the

     10    conspiracy with Grail Semiconductor and GKC/Sedgwick; and (5) Sedgwick

     11    is liable for the Niro’s firm’s fraud, if any.

     12    I.     FACTS

     13           A.      Grail Semiconductor
     14           In 2000, cousins Robert Stern and Donald Stern formed Grail

     15    Semiconductor as a California corporation; 1 its raison d’etre was to

     16    “hold and exploit” a “nonvolatile semiconductor memory device”

     17    developed by Donald Stern.      Stipulation of Agreed Facts and

     18    Authenticity of Documents 6:7-16, ECF No. 240; 2 Compl. 3:14-16, ECF No.

     19    1.    Nonvolatile memory devices retain data even after the power to

     20    that device is shut off.      Donald Stern and Robert Stern are, and were,

     21    Grail Semiconductor’s only shareholders.         As pertinent here, its Board

     22    of Directors was comprised of Donald Stern, Robert Stern and Richard

     23
           1 Originally, it was known as NV Memory, Inc.
     24
           2 Except for Exhibits 51 and 74, Common Ex. 813-847, 933-936, the parties have
           stipulated to the authenticity of all exhibits. Agreed Facts 2:12-21, ECF
           No. 240. The objection to Exhibit 51 is overruled. The Forward Purchase
     25
           Agreement and Security Agreement have been authenticated by Adam Gerchen,
           Common Ex., Gerchen Aff. 1800:9-1801:11, ECF No. 252, and are properly before
     26    this court. The court abstains from the objection to Exhibit 74, which the
           court has not relied on. Moreover, neither side has filed objections to any
     27    other evidence proffered and the deadline to do so has now passed. Order
           Regarding Re-filing Cross-Motions for Summary Judgment 8:22-24, ECF No. 228.
     28    All other evidentiary objections, including hearsay objections, are waived.
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      1    L. Gilbert.    Agreed Facts 6:13-7:14, ECF No. 240.   At all pertinent

      2    times, Ronald Hofer (“Hofer”) was Grail Semiconductor’s Chief

      3    Executive Officer and Brad Woods (“Woods”) was its Chief Financial

      4    Officer.    Agreed Facts 7:15-18, ECF No. 240.

      5           In 2001, Grail Semiconductor explored a joint venture with

      6    Mitsubishi Electric to capitalize on the nonvolatile semiconductor

      7    memory technology.   As a part of those discussions Grail Semiconductor

      8    demanded, and Mitsubishi Electric signed, a non-disclosure agreement.

      9    Compl. 3:17-22, ECF No. 1.    Mitsubishi Electric violated the agreement

     10    and “improperly used [Grail Semiconductor’s] trade secrets” to develop

     11    its own memory chips.    Compl. 3:20-22, ECF No. 1.

     12           In 2011, Grail Semiconductor ceased business operations and,

     13    thereafter, devoted itself to litigation against Mitsubishi Electric

     14    for breach of the non-disclosure agreement and, later, against Renesas

     15    Electronics America, Inc. (“Renesas”) for patent infringement.      Agreed

     16    Facts 7:19-21, ECF No. 240.    After 2011, Grail Semiconductor’s primary

     17    source of monies was litigation funding loans.    Agreed Facts 7:22-8:4,

     18    ECF No. 240.

     19           B.   Grail Semiconductor Sues Mitsubishi Electric and Renesas
                       Electronics
     20

     21           In 2007, Grail Semiconductor brought a state court action against

     22    Mitsubishi Electric for breach of the non-disclosure agreement.

     23    Agreed Facts 8:6-11, ECF No. 240.    At the outset, Grail Semiconductor

     24    was represented by the law firm of Schwartz, Rimberg & Morris LLP

     25    (“Schwartz firm”) on an hourly basis.    Agreed Facts 8:11-12, ECF No.

     26    240.

     27           In July 2011, Grail Semiconductor decided a multifaceted strategy

     28    change to the Mitsubishi Electric litigation was required.     So, it
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      1    replaced the Schwartz firm with the Chicago law firm of Niro, Haller &

      2    Niro Ltd. Agreed Facts 8:13-15, ECF No. 240.      The Niro Firm’s lead

      3    counsel in the case was Raymond P. Niro, Sr., the firm’s founder and

      4    managing shareholder.   Grail Semiconductor and the Niro firm signed a

      5    contingent fee agreement.   Common Set of Ex. for Purposes of Cross-

      6    Motions Summary Judgment, Ashley Keller Aff. 1806:3-6, ECF No. 252.

      7    The fee agreement provided that the Niro firm would be compensated for

      8    its representation by receipt of a percentage of any recovery, but the

      9    agreement contained a “pay as you go” provision for out-of-pocket

     10    litigation costs.

     11          Also in July 2011, Grail Semiconductor retained Willis Higgins as

     12    its patent attorney.    Higgins agreed to provide “assistance locating a

     13    source of funding, an introduction to potential patent litigation

     14    counsel, in-house patent counsel services including monitoring the

     15    litigation, invention evaluation and patent strategies, patent

     16    application drafting and representation in the U.S. Patent and

     17    Trademark Office.”   Common Ex., Letter from Higgins to Hofer dated

     18    July 5, 2011, 688-689, ECF No. 246.       In exchange, Higgins was to be

     19    paid three percent of “the gross proceeds of the patent litigation,

     20    whether as a result of a settlement or court judgment.”       Id.    Grail

     21    Semiconductor’s board of directors approved retention of Higgins and

     22    his fees.   Id. at 690; Agreed Facts 9:22-27, ECF No. 240.

     23          In August 2011, Grail Semiconductor opened a second litigation

     24    front; this time it did so against Renesas Electronics America, Inc.,

     25    for patent infringement.    Agreed Facts 9:3-10, ECF No. 240.       Grail

     26    Semiconductor was represented in that litigation by the firm of

     27    Mishcon de Reya New York LLP.    Agreed Facts 9:3-10, ECF No. 240.      When

     28    Grail Semiconductor failed to pay its fees, Mishcon withdrew from
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      1    representation and was awarded $2.1 million in fees against Grail

      2    Semiconductor; the patent litigation itself was dismissed for failure

      3    of prosecution.      Agreed Facts 9:22-27, ECF No. 240.

      4             Strapped for cash and needing to pay Mitsubishi Electric

      5    litigation costs, in September 2011, Grail Semiconductor obtained a

      6    litigation funding loan from 1st Class Legal (IS) Limited (“1st Class

      7    Legal”).     Agreed Facts 7:19-21, 8:16-20, ECF No. 240.

      8             In October 2011, Grail Semiconductor’s board of directors

      9    approved a finder’s fee for Mitchell NewDelman and for Frank Holze for

     10    their “instrumental” services in arranging litigation financing from

     11    1st Class Legal.      Common Ex., Minutes of Special Board of Directors

     12    Meeting on October 4, 2011, 694-695, ECF No. 246; Agreed Facts 9:14-

     13    17, ECF No. 240.      The board of directors adopted the following

     14    resolution.

     15             Resolved: That Frank Holtz (sic) and Mitchell NewDelman be
                    granted fees for the following amount and terms; Mitchell
     16             NewDelman’s percentage is 5% and Frank Holtz’s (sic)
                    percentage is 1%. These percentages shall be of the gross
     17             proceeds of the patent infringement litigation and the NDA,
                    whether as a result of a settlement or court judgment.
     18             Should a settlement, including patent infringement damages
                    and a patent license be reached in the nondisclosure case
     19             currently pending against Mitsubishi in Santa Clara,
                    California, the percentage of gross proceeds attributable
     20             to patent infringement damages and a patent license shall
                    be paid in accordance with this Resolution. Should Grail
     21             obtain a settlement including patent infringement damages
                    or grant a patent license without obtaining an
     22             apportionment of any payment for patent damages and a
                    patent license, the percentage of gross proceeds shall be
     23             applied to the entire settlement amount.
     24    Id.

     25             Later, in February 2012, 1st Class Legal advanced Grail

     26    Semiconductor an additional $700,000.        Agreed Facts 8:18-20, ECF No.

     27    240. 3    NewDelman and Holze each received an additional finder’s fee for

     28    3   Though the Agreed Facts 8:18-20, ECF No. 240, indicate that 1st Class Legal
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      1    the February 2012, advance in the amount of $35,000 in cash.         Agreed

      2    Facts 9:18-21, ECF No. 240.

      3          On April 12, 2012, Grail Semiconductor and the Niro firm entered

      4    into an Amended Fee Agreement.     Agreed Facts 10:2-5, ECF No. 240;

      5    Common Ex., Amended Fee Agreement 711-722, ECF No. 246.       That

      6    amendment provided for the distribution of the proceeds of the

      7    Mitsubishi Electric action between Grail Semiconductor, the Niro firm,

      8    1st Class Legal, members of the NewDelman group, Stern, and Hofer; it

      9    specified the order and amount of those distributions.       Agreed Facts

     10    10:6-22, ECF No. 240.    As pertinent here, Section 5 of the Amended Fee

     11    Agreement provided:

     12          As set forth in paragraph 3, Grail will agree to receive
                 into our [the Niro firm’s] client trust account on behalf
     13          of Grail any Recovery (as defined in paragraph 4)...[from
                 the Mitsubishi Electric litigation], and further Instructs
     14          our firm to first pay to 1st Class Legal, and to the order
                 of each of the above named individuals...from Grail’s share
     15          of any Recovery, any sum due Grail to 1st Class Legal...and
                 any sum due by Grail to the above named individuals prior
     16          to distribution of the same to Grail or any other designee
                 of Grail....This payment obligation of Grail is not
     17          intended to and does not amend, lessen or supersede the
                 determination of the amount and timing of our firm’s
     18          compensation or reimbursement of expenses from each
                 Recovery and that any payment made to 1st Class Legal or to
     19          the order of each of the above named individuals pursuant
                 to paragraph 5 shall not reduce or delay payments for our
     20          firm’s services or reimbursement of expenses. The amounts
                 of the payments to 1st Class Legal and respectively to the
     21          order of the above named Individuals shall be determined as
                 follows:
     22
                 1st Class Legal: Eight and one half percent (8.5%) of the
     23          gross recoveries for its investment of $3 million dollars
                 and an additional five (5%) of the gross Recoveries for its
     24          investment of $700,000.
     25          Mitchell J. NewDelman: Five percent (5%) of the gross
                 Recoveries.
     26

     27    made two advances, the source data suggests 1st Class Legal made three
           separate advances. Common Ex., Minutes of Special Meeting of Board of
     28    Directors on October 19, 2015, ¶ 3, ECF No. 245.
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      1          Dr. Frank B. Holze: One percent (1%) of the gross
                 Recoveries.
      2
                 Willis E. Higgins: Three percent (3%) of the gross
      3          Recoveries.

      4          Donald S. Stern: Five percent (5%) of the gross Recoveries.

      5          Ronald W. Hofer: Five percent (5%) of the gross Recoveries.

      6    Agreed Facts 10:6-22, ECF No. 240; Common Ex., Amended Fee Agreement

      7    716-717, ECF No. 246 (emphasis added).

      8          In May 2012, Grail Semiconductor prevailed against Mitsubishi

      9    Electric at trial and was awarded $124 million in damages.     Agreed

     10    Facts 8:21-23, ECF No. 240.    Thereafter, Mitsubishi Electric won, in

     11    part, its motions for a new trial and judgment notwithstanding the

     12    verdict; as a result, the trial court ordered a new trial solely on

     13    the issue of damages.   Agreed Facts 8:23-25, ECF No. 240.   Appeals

     14    followed and, ultimately, the matter was remanded to the trial court

     15    with an order to retry the damages phase of the action only.     Agreed

     16    Facts 8:25-9:2, ECF No. 240.

     17          In early 2013, Grail Semiconductor filed a Certificate of

     18    Domestication and Articles of Incorporation with the State of Florida,

     19    and thereby incorporated itself under the laws of the State of

     20    Florida.   Agreed Facts 6:10-12, ECF No. 240.

     21          In the Fall 2014, after the case had been remanded, Grail

     22    Semiconductor needed additional funding for litigation and other

     23    corporate expenses.   Agreed Facts 11:11-14, ECF No. 240.    But Grail

     24    Semiconductor was dissatisfied with its dealings with 1st Class Legal

     25    and sought financing elsewhere.    Common Ex., Minutes of Special

     26    Meeting of Board of Directors on October 19, 2015 ¶ 3, 658, ECF No.

     27    245; Common Ex., Email from Ronald Hofer dated October 22, 2014, 749,

     28    ECF No. 246.   Grail Semiconductor’s counsel, Ray Niro (who had a pre-
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      1    existing relationship with GKC) introduced Ronald Hofer, Grail

      2    Semiconductor’s Chief Executive Officer, to one of GKC’s principals

      3    “for the purposes of discussing potential terms for litigation

      4    financing to be provided to Grail Semiconductor.”      Agreed Facts 11:14-

      5    19, ECF No. 240.

      6          C.   Enter GKC/Sedgwick
      7          GKC is “an investment and advisory firm focused on litigation

      8    financing.”   Agreed Facts 10:24-26, ECF No. 240; Common Ex., Adam

      9    Gerchen Aff. 1799:9-15, ECF No. 252.       It manages in excess of $1.4

     10    billion in assets for “public pensions, financial institutions, non-

     11    profit foundations, university endowments and family offices.”         Common

     12    Ex., Adam Gerchen Aff. 1799:9-15, ECF No. 252.      Adam Gerchen co-

     13    founded GKC and was its Chief Executive Officer, Id. at 1799:1-3;

     14    Ashley Keller co-founded GKC and was a Managing Director, Common Ex.,

     15    Ashely Keller Aff. 1804:4-7, ECF No. 252; and Betsy Thelen functioned

     16    as GKC’s General Counsel, Common Ex., Betsey Thelen Aff. 1816:1-3, ECF

     17    No. 252.   Typically, GKC used “a separate single-purpose entity for

     18    each litigation financing transaction.”       Common Ex., Adam Gerchen Aff.

     19    1799:12-14, ECF No. 252.

     20          In this case, GKC managed GKC Partners II, LLP, an investment

     21    fund. GKC Partners II, LLP provided funds for the Grail Semiconductor

     22    litigation against Mitsubishi Electric through its wholly-owned

     23    subsidiary Sedgwick.   Agreed Facts 10:24-11:7, ECF No. 240; Common

     24    Ex., Adam Gerchen Aff. 1799:17-19, ECF No. 252.       Sedgwick was a

     25    single-purpose entity formed to fund the Grail Semiconductor action

     26    against Mitsubishi Electric.    Id.

     27          After discussions, Sedgwick agreed to fund the action against

     28    Mitsubishi Electric in exchange for a return in excess of three times
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      1    the monies loaned.   Common Ex., Gerchen decl. 1800:9-1801:11, ECF No.

      2    252.   On October 29, 2014, Grail Semiconductor and Sedgwick executed a

      3    Prepaid Forward Purchase Agreement and a Security Agreement.    Id. at

      4    814-830, 840-847, ECF No. 247; Agreed Facts 11:23-12:2, ECF No. 240.

      5    Summarized, these agreements provided the following: (1) Sedgwick

      6    agreed to loan Grail Semiconductor up to $5 million to fund the action

      7    against Mitsubishi Electric (including a $3 million advance

      8    immediately upon execution); (2) Grail Semiconductor agreed to provide

      9    Sedgwick with a security interest in the Mitsubishi Electric

     10    litigation proceeds; and (3) Grail Semiconductor promised to repay

     11    Sedgwick three times the amount advanced plus a commitment fee.

     12    Common Ex., Prepaid Purchase Agreement §§ 1, 2.1-2.5, Security

     13    Agreement § 1, 814-818, 840, ECF No. 247.     Of particular import are

     14    the provisions of the Forward Purchase Agreement and Security

     15    Agreement that describe the identity of existing encumbrances against

     16    litigation proceeds and the intended priority of secured creditors to

     17    litigation proceeds.   The Purchase Agreement provided:

     18           Priority of Payment. Seller agrees to satisfy its
                  obligations hereunder as follows:
     19
                  (i) Before paying any other Entity or paying any Litigation
     20           expenses or other expenses of Seller, Seller shall use
                  [Mitsubishi Electric litigation] Proceeds first to pay
     21           Purchaser [Sedgwick] the First Dollars Out Return.
     22           (ii) After paying Litigation Counsel [Niro, Haller & Niro,
                  Ltd.] the costs and fees owed pursuant to the Litigation
     23           Counsel Engagement Agreement, but before paying any other
                  Entity (other than Litigation Counsel) or paying any other
     24           expenses of Seller, Seller shall pay Purchaser [Sedgwick]
                  the Deployment Return and the Commitment Fee.
     25

     26    Common Ex., Prepaid Forward Purchase Agreement § 2.6, 818, ECF No.

     27    247.

     28    It also provided:
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      1          Seller’s Representations. Seller represents and warrants
                 to Purchaser as of the Agreement Date that:
      2
                 ...
      3
                 (b) Except as set forth on Schedule 3.2(b), Seller is the
      4          sole legal and beneficial owner of and has good title to
                 the [Mitsubishi Electric] Litigation, the Proceeds, and the
      5          Transferred Rights, free and clear of any Encumbrance
                 (other than Litigation Counsel under the Litigation Counsel
      6          Engagement Agreement or to First Class [Legal] under the
                 First Class Funding Agreements).
      7
                 ...
      8

      9    Common Ex., Prepaid Forward Purchase Agreement § 3.2, 819, February 5,

     10    2021, ECF No. 247 (emphasis original).

     11          Schedule 3.2(b) contained nine exceptions to the free and clear

     12    of encumbrance representation.

     13
                 Mischcon de Reya                                   $1,650,000
     14          Schwartz Ferentz...                                $2,371,404
                 Saez and Benyamin                                    $348,000
     15          * First Class [Legal]                   $19% Plus $17,400,000
                                                                Loan Repayment
     16          Mitchell J. NewDelman                                    5%**
                 Dr. Frank B. Holze                                       1%**
     17          Willis E. Higgins                                        3%**
                 Donald S. Stern                                          5%**
     18          Ronald W. Hofer                                          5%**
     19
                 * First Class[.] This amount may change down one or two
     20          percent. Pursuant to the First Class Funding Agreements,
                 First Class has agreed to third priority payment of gross
     21          recoveries from the [Mitsubishi Electric] Litigation, after
                 payment to Litigation Counsel and Purchaser.
     22
                 ** Pursuant to the First Class Funding Agreements, these
     23          individuals have agreed to third priority of gross
                 recoveries from the Litigation, after Litigation Counsel
     24          and Purchaser. Payment of these percentages is pari passu
                 with First Class’s 19% interest in the gross recoveries
     25          from the [Mitsubishi Electric] Litigation.
     26    Common Ex., Prepaid Forward Purchase Agreement, Schedule 3.2(b), 829,
     27    ECF No. 247.
     28
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      1          The Security Agreement contemplated that GKC/Sedgwick would be

      2    paid first, and in full, from the Mitsubishi Electric litigation

      3    proceeds:

      4          THE PLEDGOR’S COVENANTS. The Pledgor [Grail Semiconductor]
                 represents, covenants, and warrants that unless compliance
      5          is waived by the Secured Party in writing:
      6          ...
      7          (d) The Pledgor has not granted and will not grant any
                 security interest in any of the Collateral [Mitsubishi
      8          Electric litigation proceeds] except to the Secured Party
                 (and, if applicable, to Litigation Counsel pursuant to the
      9          Counsel Engagement Agreement) and will keep the Collateral
                 free and clear of all liens, claims, security interests,
     10          and encumbrances of any kind or nature except the security
                 interest of the Secured Party (and, if applicable, to
     11          Litigation Counsel pursuant to the Counsel Engagement
                 Agreement).
     12
                 ...
     13
                 (g) Except as otherwise set forth in Section 2.6 of the
     14          Forward Purchase Agreement, the Pledgor shall cause all
                 Proceeds to be paid to the Secured Party on account of the
     15          Secured Obligations [all debts Grail Semiconductor owes to
                 GKC/Sedgwick] until the Secured Obligations are paid in
     16          full.
     17    Common Ex., Security Agreement § 2(d), (g) 840-841, ECF No. 247

     18    (emphasis added).

     19          To effectuate the funding agreement, on October 31, 2014, Grail

     20    Semiconductor, the Niro firm, and Sedgwick signed a letter agreement.

     21    In the pertinent part the letter agreement provided:

     22          [The Niro firm] represents [Grail Semiconductor] in
                 connection with certain litigation against Mitsubishi
     23          Electric & Electronics USA, Inc...pursuant to [a fee
                 agreement, dated April 10, 2012]. [Grail Semiconductor]
     24          has agreed to a forward purchase agreement by Sedgwick
                 FundingCo, LLC, a New York limited liability company....,
     25          of a portion of the proceeds payable to [Grail
                 Semiconductor] from the [Mitsubishi Electric litigation],
     26          pursuant to a Prepaid Forward Purchase Agreement dated
                 October 29, 2014....
     27
                 [Grail Semiconductor] hereby irrevocably instructs [the
     28          Niro firm], and [the Niro firm] hereby irrevocably
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      1          acknowledges and agrees, pursuant to the existing [fee
                 agreement], that:
      2
                     (a) it will instruct the applicable defendant(s) or
      3              other applicable parties to pay any Proceeds (used
                     herein as defined in the Forward Purchase Agreement)
      4              owed to [Grail Semiconductor] into a trust account
                     maintained by [the Niro firm];
      5
                     (b) it will not make any payment from Proceeds received
      6               by it from time to time to any person or entity (other
                      than [Sedgwick FundingCo, LLC]) (including, without
      7               limitation, [Niro] or [Grail Semiconductor], until
                      [Sedgwick FundingCo, LLC] has received payment in full
      8               for the amount of [l]itigation expenses funded by
                      [Sedgwick FundingCo, LLC] pursuant to the Forward
      9               Purchase Agreement (the “Funded Expenses”), which has
                      a maximum of $2,000,000, after which time [the Niro
     10               firm] may pay itself any amounts [the Niro firm] is
                      owed for costs and fees pursuant to the [fee
     11               agreement, dated April 10, 2012]; and

     12              (c) in the event [Grail Semiconductor] does not
                      instruct [the Niro firm] to pay [Sedgwick FundingCo,
     13               LLC] an amount equal to the amount owed by [Grail
                      Semiconductor] to [Sedgwick FundingCo, LLC] under the
     14               Forward Purchase Agreement with respect to such
                      Proceeds (the “FundCo Return”) within three (3)
     15               business days of the date [the Niro firm] notifies
                      [Grail Semiconductor] of its receipt of Proceeds,
     16               then, upon receipt of written direction from [Sedgwick
                      FundingCo, LLC] that contains the calculation of the
     17               FundCo Return, including the calculation of Funded
                      Expenses, [the Niro firm] will promptly pay [Sedgwick
     18               FundingCo, LLC] the amount of the Funded Expenses,
                      then, after paying itself any amounts [the Niro firm]
     19               is owed for costs and fees pursuant to the [fee
                      agreement, dated April 10, 2012, the Niro firm] will
     20               promptly pay the FundCo Return to [Sedgwick FundingCo,
                      LLC] from (and to the extent of) the Proceeds.
     21
                 [The Niro firm, Grail Semiconductor and Sedgwick FundingCo,
     22          LLC] acknowledge and agree that the term of this letter of
                 instruction may not be changed without consent of [Sedgwick
     23          FundingCo, LLC].

     24          Please indicate your agreement with the foregoing by
                 signing in the space provided below.
     25

     26    Common Ex., Grail Semiconductor letter, dated October 31, 2014, 831-

     27    832, ECF No. 247 (emphasis added).

     28          The letter agreement was signed by Ronald Hofer, on behalf of
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      1    Grail Semiconductor; Ray Niro, on behalf of the Niro firm; and Adam

      2    Gerchen, on behalf of Sedgwick.     Id. at 832.

      3          Shortly thereafter, Sedgwick filed a UCC-1 financing statement in

      4    the State of Florida pursuant to the Security Agreement signed by

      5    Grail Semiconductor and Sedgwick.    Agreed Facts 12:3-5, ECF No. 240.

      6          D.   The Priority Agreement
      7          Since the Forward Purchase Agreement, and the documents

      8    effectuating that, only bound GKC/Sedgwick, Grail Semiconductor, and

      9    the Niro firm, GKC/Sedgwick wanted to secure its superior right to

     10    Mitsubishi Electric litigation proceeds vis-à-vis Grail

     11    Semiconductor’s other creditors, i.e., the NewDelman Group.

     12          On October 20, 2014, prior to advancing funds to Grail

     13    Semiconductor, Betsy Thelen, GKC’s general counsel, drafted an email

     14    to Ron Hofer, Grail Semiconductor’s CEO.     It stated:

     15          Ron-I took a look at the Retainer Agreement [with the Niro
                 firm] and saw the information regarding the other
     16          stakeholders in the litigation proceeds. Each stakeholder
                 has a percentage interest in gross recoveries, as opposed
     17          to recoveries net of payment to Niro, GKC and 1st Class.
                 As a result, we will need the 5 individuals to sign onto
     18          the Priority Agreement as well.
     19          Mitchell J. NewDelman: Five percent (5%) of the gross
                 Recoveries.
     20
                 Dr. Frank B. Holze: One percent (1%) of the gross
     21          Recoveries.
     22          Willis E. Higgins: Three percent (3%) of the gross
                 Recoveries.
     23
                 Donald S. Stern: Five percent []5%[] of the gross
     24          Recoveries.
     25          Ronald W. Hofer: Five percent []5%[] of the gross
                 Recoveries.
     26

     27    Common Ex., Email from Thelen to Hofer dated October 21, 2014, 747,

     28    ECF No. 246.
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      1            On October 21, 2014, Ronald Hofer responded by return email:

      2    “Grail has not (sic) agreement with these individuals.          I asked Ray

      3    [Niro] to include this in the retainer agreement.         Could I not just

      4    send him a request to make it net?       I will call you later this

      5    morning.”     Common Ex., Email from Hofer to Thelen, ECF No. 246.

      6                  1.    Priority Agreement (the 1st Class Legal Draft)
      7            On October 22, 2014, Ronald Hofer sent (at least some of) the

      8    members of the NewDelman Group an email.          The subject line stated,

      9    “Waiver of Gross Revenues.”       It stated:

     10            The purpose of this email is to bring you up to date
                   regarding the current status of Grail. Grail has a
     11            significant issue with its funder, 1st Class [L]egal.
                   Grail has not had any money for the last 11 months. Facing
     12            serious problems with the ability of continuing the NDA
                   case against Mitsubishi, Grail went into the market 3 weeks
     13            ago on its own and located a new funder for the infusion of
                   $5MM to continue the law suit (sic).
     14
                   Grail and GKC, LLC, located in Chicago[,] have signed
     15            closing documents for this funding. The funder had only
                   one significant requirement and that is a waiver of
     16            priority from 1st Class Legal and for those of us that have
                   points, waiver of ‘gross recoveries.’ Attached please find
     17            an agreement that satisfies the funder. We need this today
                   so as to begin drawing down funds. We have a trial
     18            beginning next week and the law firm will withdraw if they
                   are not paid before trial. We have not paid them for 11
     19            months and the outstanding invoice is $425,000.
     20            In the event you have question[s] please call.       Thank you
                   for your effort and continued support.
     21
                   Ron [Hofer]
     22

     23    Common Ex., Email from Hofer dated October 22, 2014, 749, ECF No. 246

     24    (emphasis added).

     25            NewDelman and Higgins admit receiving Hofer’s email.       Common Ex.,

     26    NewDelman Dep. 1139:1-1141:14, ECF No. 251; Higgins Dep. 1446:17-

     27    1450:21, ECF No. 251. 4

     28    4   It is unclear whether the email was addressed to Frank B. Holze or whether
                                                    17
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      1          A draft priority agreement was attached to the email.    Common

      2    Ex., Email from Hofer 749, ECF No. 246.     That agreement had been

      3    drafted by 1st Class Legal.     Common Ex., NewDelman Dep. 1140:2-7, ECF

      4    NO. 251; Common Ex., Higgins Dep. 1448:14-20, ECF No. 251.

      5          As pertinent here, the 1st Class Legal draft priority agreement

      6    provided:

      7          ...

      8          2.1   The intention of this Agreement as acknowledged and
                 agreed to by the parties [Mitchell NewDelman, Don Stern,
      9          Woody Higgins, Frank Holze and Ronald W. Hofer] is to
                 detail the circumstances, consideration and related matters
     10          in relation to a change in the priority status with regard
                 to access to all or any funds awarded, costs obtained and
     11          interest add (sic) to or derived from the litigation (the
                 award) identified as Case No. 1-07-CV-098590, in the
     12          Superior Court in Santa Clara, California and all
                 subsequent related cases or hearings. (the case) (sic).
     13
                 2.2   Prior to the completion of this agreement the law
     14          firm involved with the case, Niro, Haller & Niro Ltd.
                 (Niro) of 181 West Madison Street, Suite 4600, Chicago,
     15          Illinois 60602-4515 had first priority or call on the award
                 derived by Grail in the case and the Parties had a claim on
     16          proceeds of gross recoveries as third priority.
     17          2.3   It is hereby agreed by all the parties [Mitchell
                 NewDelman, Don Stern, Woody Higgins, Frank Holze, and
     18          Ronald W. Hofer] that as and from the date of this
                 Agreement the priority status in relation to the award
     19          shall be changed to:
     20          First Priority-Niro;
     21          Second Priority-GKC and
     22          Third Priority-[1st Class Legal]
     23          Parties [Mitchell NewDelman, Don Stern, Woody Higgins,
                 Frank Holze and Ronald W. Hofer]
     24
                 2.4   It is also agreed by all the parties that all or any
     25          other persons or entities having any claim or potential
                 claim on the award shall be subservient to Parties in terms
     26          of any priority status in relation to the award.
     27          ...
     28    he received it.
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      1    Common Ex., Draft Priority Agreement 750, ECF No. 246 (emphasis

      2    added).

      3          The NewDelman Group considered, and rejected, the draft priority

      4    agreement as “one-sided” in favor of 1st Class Legal and GKC.    Common

      5    Ex., NewDelman Dep. 1142:2-13, ECF No. 251.

      6                 2.   Priority Agreement (the Higgins Draft)
      7          Higgins undertook to re-draft the Priority Agreement.   On October

      8    26, 2014, Higgins sent an email to NewDelman, Holze and Hofer.     It was

      9    entitled “Priority Agreement” and stated:

     10          All,
     11          Here is what I believe to be the final version of the above
                 agreement, ready for execution. My understanding from my
     12          conversations yesterday and today is that all of you accept
                 the substance of this document. I have edited it based on
     13          the received comments to be consistent with the style and
                 terminology of the April 10, 2012[,] Amended Fee Agreement.
     14          Let’s wrap this up.
     15          Regards,
     16          Woody Higgins
     17    Common Ex., Email from Higgins 753, ECF No. 246.

     18          That agreement provided:

     19          Reference is made to a[n] Amended Fee Agreement dated April
                 10, 2012[,] by and between Niro, Haller and Niro and Grail
     20          Semiconductor, Inc., which is hereby incorporated by
                 reference herein. Except as expressly modified in this
     21          Agreement, the Amended Fee Agreement remains in full force
                 and effect.
     22
                 The last sentence of Paragraph 5 of the Amended Fee
     23          Agreement at page seven (7) is hereby deleted and replaced
                 with the following provision.
     24
                 The amounts of the payments to Niro, Haller and Niro,
     25          Gerchen Keller Capital LLC (GKC herein), [and] First Class
                 Legal (First Class herein) shall be determined in
     26          accordance with their respective agreements as of the date
                 of this Priority Agreement with Grail Semiconductor, Inc.,
     27          and the individuals set forth below specifically referred
                 to in the Amended Fee Agreement as ‘the above named
     28          individuals’ shall be determined as follows:
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      1          First Priority: Niro, Haller and Niro in accordance with
                 the Amended Fee Agreement.
      2
                 Second Priority: GKC
      3
                 Third Priority: First Class for reimbursement of loans and
      4          related interest up to seventeen million four hundred
                 thousand U.S. dollars (US $$17.4 million) as of the date of
      5          this Priority Agreement, and distributions of gross
                 Recoveries as defined in the Amended Fee Agreement
      6          thereafter by percentages pari passu with ‘the above named
                 individuals’ as follows:
      7
                     First Class: Nineteen Percent (19.0%) of the gross
      8              Recoveries.

      9              Mitchell J. NewDelman: Five percent (5%) of the gross
                     Recoveries.
     10
                     Dr. Frank B. Holze: One percent (1%) of the gross
     11              Recoveries.

     12              Willis E. Higgins: Three percent (3%) of the gross
                     Recoveries.
     13
                     Donald S. Stern: Five percent (5%) of the gross
     14              Recoveries.

     15              Ronald W. Hofer: Five percent (5%) of the gross
                     Recoveries.
     16
                 All of the first, second and third priority payments shall
     17          be made concomitantly and directly by Niro, Haller and Niro
                 from their trust account to the first, second and third
     18          priority entities and individuals (or to the respective
                 order of such individuals, or their respective estate or
     19          administrator, if deceased or known to be incapacitated).
                 The remaining balance of the gross Recoveries shall be then
     20          paid to Grail Semiconductor, Inc. by Niro, Haller and Niro
                 from their trust account.
     21
                 This agreement is the entire agreement between the parties
     22          hereto and is effective as of the date of the last
                 signature below. Separate signed copies shall be treated
     23          as a single original, and a signed, digitally scanned and
                 transmitted by e-mail attachment shall constitute execution
     24          and delivery by the respective party thereto.

     25    Common Ex., Priority Agreement 754-764, ECF No. 246 (emphasis original

     26    and added).

     27          Except for Sedgwick/GKC, all of the parties (including Grail

     28    Semiconductor and the Niro firm) to the Priority Agreement signed it
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      1    without change in late October and early November 2014.   Agreed Facts

      2    13:10-13, ECF No. 240.

      3          Even though the Priority Agreement had not yet been signed by all

      4    parties, between November 5, and November 20, 2015, GKC/Sedgwick made

      5    three capital advances aggregating $3.44 million of $5 million

      6    available under the litigation funding agreement.   Agreed Facts 12:6-

      7    15, ECF No. 240; compare Common Ex., Purchase Agreement and Security

      8    Agreement, 814, 840, ECF No. 247 (effective date October 29, 2014),

      9    with Agreed Facts 12:6-9, ECF No. 240 ($3 million advanced on November

     10    5, 2014).

     11          On November 26, 2014, GKC signed the Higgins draft of the

     12    Priority Agreement, backdating it to October 31, 2014.    Agreed Facts

     13    13:14-19, ECF No. 240.   But before signing it GKC changed the terms of

     14    Priority Agreement to add a parenthetical behind the words: “Second

     15    Priority: GKC”; after that modification the agreement read, “Second

     16    Priority: GKC (including its affiliate, Sedgwick FundingCo, LLC)”:

     17          The amounts of payments to Niro, Haller and Niro, Gerchen
                 Keller Capital LLC (GKC herein), [and] First Class Legal
     18          (First Class herein) shall be determined in accordance with
                 their respective agreements as of the date of this Priority
     19          Agreement with Grail Semiconductor, Inc., and the
                 individuals set forth below specifically referred to in the
     20          Amended Fee Agreement as ‘the above named individuals’
                 shall be determined as follows:
     21
                 ...
     22
                 Second Priority: GKC (including its affiliate, Sedgwick
     23          FundingCo, LLC)
     24          /s/ Gerchen Keller Capital LLC
     25    Agreed Facts 13:14-19, ECF No. 240; Common Ex., Priority Agreement ¶

     26    2, 870, ECF No. 248 (emphasis added).

     27          GKC returned the agreement to Grail Semiconductor by email from

     28    its counsel Betsy Thelen; she called the modification to Grail
                                               21
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      1    Semiconductor’s attention and requested that all parties initial the

      2    change adding Sedgwick.     Agreed Facts 13:14-19, ECF No. 240; Common

      3    Ex., November 26, 2014, Email from Betsy C. Thelen to Ronald Hofer

      4    868, ECF No. 248.

      5          Ron-
      6          Attached is a signed Priority Agreement.    My apologies that
                 this item took so long.
      7
                 We wrote onto the first page “(including its affiliate,
      8          [Sedgwick FundingCo, LLC]” next to the name of GKC, just to
                 be clear everyone is on the same page. It would be
      9          cleanest if everyone could re-initial the first page –
                 whenever you get a chance. Finally, Ray should sign the
     10          agreement for everyone’s records.
     11          ....

     12          Betsey Thelen, Esq.
     13          Gerchen Keller Capital, LLC
     14    Common Ex., Email from Thelen to Hofer dated November 25, 2014, 868,

     15    876, ECF No. 248 (emphasis added).

     16          Grail Semiconductor’s creditors, particularly among the NewDelman

     17    Group, discussed GKC’s request; Higgins signaled his support of, or at

     18    least lack of opposition to, the addition of Sedgwick. In an email to

     19    Mitchell NewDelman, Higgins stated:

     20          Here is [the] good news and [the] bad news. The good news
                 is that we have the final signature. The bad news is that
     21          GKC is suggesting everyone initial page 1 to cover the
                 addition they made to identify Sedgwick. We do have Ray’s
     22          [Niro] signature on the agreement, so that is not an issue.
     23          If you would initial page 1 and send it to me, I can add my
                 initials.
     24
                 Woody [Higgins]
     25

     26    Common Ex., Email from Higgins to NewDelman dated November 28, 2014,

     27    875, ECF No. 248.

     28          Mitchell NewDelman questioned the change and demanded
                                                 22
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      1    “transparency between people signing the same agreement; even if it is

      2    an edit.”   Common Ex., Email from NewDelman dated November 28, 2014,

      3    875, ECF No. 248.

      4          Higgins attempted to explain the modification to NewDelman and

      5    Holze:

      6          I have reviewed the closing documents for this round of
                 funding that were supplied to me as a Grail insider.
      7          Sedgwick FundingCo, LLC is an entity set up by GKC to carry
                 out the actual funding. It is a New York LLC using GKC’s
      8          Chicago address, and Adam Gerchen is identified as its
                 Manager in the closing documents. I do not see that
      9          identifying them in the Priority Agreement changes our
                 distribution priority.
     10
                 I hope this clarifies the matter.
     11
                 Woody [Higgins]
     12

     13    Common Ex., Email from Higgins to NewDelman and Holze dated November

     14    29, 2014, 875, ECF No. 248.

     15          NewDelman was not satisfied by Higgin’s explanation.

     16          Hi Woody,
     17          A few weeks ago, even you insisted in an e-mail that you
                 wouldnot [sic] sign off on the Priority Agreement unless
     18          you understood what you were signing.
     19          If the funding agreement has been signed and performed;
                 [sic] how can a NAME simply be added? GKC is not even
     20          suggesting that Sedgwick becomea [sic] ‘party’ to the
                 agreement (no signature line) and there is surely
     21          noconsideration [sic].
     22          Frank [Holze] may well send his own e-mail to you and Ron
                 [Hofer] on this ‘request’ since I simply can neither
     23          explain the 1) reason nor 2) the economic impact (ifany
                 [sic]) nor 3) the affect (if any) such a post execution re-
     24          initialing have on thevalidity [sic] of the underlying
                 agreement. I just do not get it. If it has somethingto
     25          [sic] do with a UCC filing in Illinois, we ought to be
                 told.
     26
                 I believe the best way to solve this is for GKC to writeus
     27          [sic] a letter on their proper letterhead (signed and
                 scanned original; with a postedoriginal [sic] to you);
     28          explaining that their request is strictly a gratuitous
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      1          accommodationto [sic] GKC for internal purposes; and that
                 they ‘represent and warrant’ thatthere [sic] will be
      2          absolutely no economic cost to the ‘other named individuals
                 executed the Priority Agreement.
      3
                 I would also insist that GKC write in the name of the
      4          personwho [sic] executed the Priority Agreement on their
                 behalf (it is illegible; and theprint [sic] name was left
      5          blank). Likewise, Ron [Hofer] must write in his name where
                 theblank [sic] for Grail was provided as the
      6          ‘representation’ that he has Board ofDirectors [sic]
                 authority to execute the Priority Agreement on behalf of
      7          Grail.

      8          ...

      9          Cheers

     10          Mitchell [NewDelman]

     11    Common Ex., Email from NewDelman to Higgins dated November 29, 2014,

     12    880, ECF No. 248 (emphasis original).

     13          Frank Holze was similarly not satisfied with Higgins’

     14    explanation.

     15          Hi Mitchell,

     16          ...

     17          Something which is not alright, is the fact that GKC
                 created that specific entity (who are the owners of
     18          Sedgwick? GKC to 100%?) for this particular purpose
                 probably to put a screen between GKC and Sedgwick and that
     19          is not of concern to the parties of the Priority Agreement,
                 this is strictly an internal GKC matter. As I told you on
     20          the phone yesterday, I read the CVs of the guys owning and
                 running GKC, very impressive and I take my hat off, but at
     21          the same time these guys are ‘washed with all waters’ (a
                 German expression translated)-so I assume they have found a
     22          very particular and important circumstance AFTER the fact
                 of doing the deal, that makes it so important to them to
     23          make this addition to the Agreement. THAT is what makes me
                 raise my eyebrows! Again, as I said earlier, I am not a
     24          lawyer, but I am in business since +45 years, and something
                 does not smell right to me here. In my book there is
     25          absolutely no need to make the change to the Agreement.

     26          ...

     27          Frank [Holze]

     28    Common Ex., Email from Holze to NewDelman November 30, 2014, 879, ECF
                                              24
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      1    No. 248 (emphasis original and added).

      2          There is no evidence that NewDelman, Higgins or Holze initialed

      3    the addition of the verbiage, i.e., “(including its affiliate,

      4    Sedgwick FundingCo, LLC),” to the Priority Agreement, Common Ex.,

      5    Keller Dep. 1509:19-1510:20, 1512:9-14, 1521:19-1523:5, ECF No. 251;

      6    Common Ex., NewDelman Dep. 1138:8-19, ECF No. 251; Common Ex., Higgins

      7    Dep. 1470:19-1471:19, ECF No. 251; Common Ex., Holze Dep. 1707:12-

      8    1708:14, ECF No. 251; or that GKC was aware of NewDelman and Holze’s

      9    objection to that verbiage.    Common Ex., NewDelman Dep. 1159:1-

     10    1160:17, ECF No. 251; Common Ex., Holze Dep. 1708:14-19, ECF No. 251;

     11    Common Ex., Keller decl. 1811:23-25, ECF No. 252; Common Ex., Thelen

     12    decl. 1820:5-9, ECF NO. 252.

     13          E.     Grail Semiconductor, GKC/Sedgwick and the Niro Firm Realize
                        There Won’t Be Enough Money to Pay Everyone
     14
                 Not later than the Spring 2015, GKC and the Niro firm realized
     15
           that any settlement with Mitsubishi Electric would almost certainly
     16
           not be sufficient to pay all of Grail Semiconductor’s creditors in
     17
           full. On April 24, 2015, Ashely Keller of GKC sent Ray Niro an email:
     18
                 Ray,
     19
                 You are exactly right. Below is the priority. I’ve also
     20          attached a model for you to play with (you can insert
                 different settlement numbers). Bottom line, you and GKC
     21          are at the top of the waterfall[,] so we need to put
                 pressure on everybody (especially First Class) to be
     22          reasonable to reach a deal. If we can do that as the first
                 priority parties, so can they.
     23
                 Even at $100mm there is nothing left if nobody budges. We
     24          need to get everyone comfortable with a settlement in the
                 $40-60mm range....
     25
                 Ashley [Keller]
     26

     27    Common Ex., Email from Keller to Niro dated April 24, 2015, 885, ECF

     28    No. 248 (emphasis added).
                                                25
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      1          Like the Niro firm and GKC, Grail Semiconductor also recognized

      2    that full payment of all Grail Semiconductor’s creditors from any

      3    potential settlement with Mitsubishi Electric was unlikely.    Common

      4    Ex., Hofer Dep. 1615:2-23, ECF No. 251.    Grail Semiconductor doubted

      5    that Mitsubishi Electric would settle the litigation in an amount

      6    sufficient to pay all creditors; so, it started to pressure some of

      7    its creditors to reduce the amounts due them in order to settle the

      8    case at the mediation.   Common Ex., Gilbert Dep. 1200:13-1201:24, ECF

      9    No. 251.    Director Gilbert described the pre-mediation discussions in

     10    the following manner:

     11          Q    You had a discussion with Ashley Keller prior to the
                 mediation about GKC taking a haircut, am I correct?
     12
                 A     Probably more than one.
     13
                 ...
     14
                 Q    Now, the first conversation that you had, what do you
     15          remember about the substance of the first conversation you
                 had with Ashley Keller and a haircut?
     16
                 A    Generally,....that it was evident that any settlement
     17          that would potentially be reached with Mitsubishi would be
                 inadequate, and there was going to need to be both a pro
     18          rata—for him pro rata consideration of reduction of pro
                 rata not in some mathematical sense, but everything was
     19          going to take a haircut. And we were going to have to
                 discuss that, and we need to get a handle on everything so
     20          we could put a patch together.
     21    Common Ex., Gilbert Dep. 1200:13-1201:24, ECF No. 251; see also Common

     22    Ex., Keller Dep. 1571:3-19, ECF No. 251.

     23          F.    The Mitsubishi Electric Action Settles
     24          On October 5, 2015, on the eve of retrial of the damages phase of

     25    the action, the parties mediated the case in San Francisco.    Agreed

     26    Facts 13:24-14:2, ECF No. 240.    Grail Semiconductor’s interests were

     27    represented by directors Gilbert and Stern, Chief Executive Officer

     28    Hofer, and its attorneys; no GKC/Sedgwick representative physically
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      1    attended the mediation.   Agreed Facts 13:24-14:2, ECF No. 240.     Ashley

      2    Keller was in San Francisco on the date of the mediation; he did so to

      3    “monitor and keep abreast” and “to provide my perspective[‘] as well[]

      4    as a consultant to Grail, about the value of the case and what a

      5    prudent risk[-]appropriate settlement value would be.”    Agreed Facts

      6    14:3, ECF No. 240; Common Ex., Keller Dep. 1557:11-21, ECF No. 251.

      7    He is “not sure” if he spoke with Grail Semiconductor representatives

      8    by telephone during the mediation.    Common Ex., Keller Dep. 1548:12-

      9    1549:21, ECF No. 251.    Chief Executive Officer Hofer calculated that

     10    he needed a settlement of at least $60 million to pay all creditors.

     11    Common Ex., Hofer Dep. 1615:2-23, ECF No. 251.    Mitsubishi Electric

     12    offered $55 million to settle the dispute.     Chief Executive Officer

     13    Hofer remembers that during the mediation, the Niro firm and Sedgwick

     14    each agreed to reduce their claims by $3 million to make the $55

     15    million settlement offer work.    Common Ex., Hofer Dep. 1616:11-

     16    1617:24, ECF No. 251. Sedgwick denies that it agreed to accept “less

     17    than its full claimed entitlement” outside of a global resolution with

     18    all creditors.   Common Ex., Aff. Keller 1814:13-16, ECF No. 252.     By

     19    close of business that day, Grail Semiconductor and Mitsubishi

     20    Electric settled the Mitsubishi Electric action for $55 million.

     21    Agreed Facts 13:24-14:6, ECF No. 240.

     22           After the mediation, Keller, Gilbert, and Hofer had a celebratory

     23    drink in the bar of the Fairmont Hotel and discussed the events of the

     24    day.   Common Ex., Keller Dep. 1549:3-1550, ECF No. 251; Common Ex.,

     25    Gilbert Dep. 1202:6-1204:11, ECF No. 251; Common Ex., Woods Dep.

     26    1744:5-1745:16, ECF No. 251.     Woods did not attend the mediation, but

     27    remembers the following colloquy between Ashley Keller and Ron Hofer:

     28           Q    [Unknown].
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      1          ...

      2          A    When we got back and we’re sitting in the bar, that’s
                 when Ron asked Keller if he was happy with the deal he just
      3          made. And Keller says something to the effect, ‘Oh Ron,
                 two times our money. We’ve only been in this investment,
      4          like, a year. You know, that’s a really good rate of
                 return when you do it.’
      5
                 And Ron asked him further the question, something to the
      6          effect about the priority agreement, ‘You guys are done.
                 you made your deal.’
      7
                 Keller said, ‘Yes, that’s right.’   Words to that effect.
      8
                 Q     So Keller agreed to take a $3 million haircut.
      9
                 ...
     10
                 THE DEPONENT: Right.
     11
                 ...
     12
                 Q    And at this time, Ashley Keller says that he’s happy
     13          with it and that—and Mr. Hofer confirms that there is no
                 more money that would be paid to GKC after the $3 million
     14          is taken off; am I correct?

     15          A     Yep.   Yes.

     16    Common Ex., Woods Dep. 1744:2-1745:16, ECF No. 251 (emphasis added).

     17          G.    GKC/Sedgwick, Grail Semiconductor, and the Niro Firm Cut
                       the Side Deal
     18
                 After the mediation, discussions between Grail Semiconductor,
     19
           acting through director Gilbert, and GKC, acting through Ashely
     20
           Keller, continued.    Common Ex., Gilbert Dep. 1202:6-25, ECF No. 251.
     21
           On October 7, 2015, Director Gilbert sent Ray Niro and Ashley Keller
     22
           an email:
     23
                 [We/I] [h]ad a constructive meeting with attorneys relative
     24          to the ‘action plan.’ There are a few tweaks to the basic
                 outline we discussed, but it appears we can and will make
     25          this happen with a quick turnaround. We are targeting a
                 board meeting for Wednesday [October 14, 2015] afternoon.
     26
                 Feel free to call me for any further input and details.
     27
                 I ran out of time today to draft the letter agreements we
     28          discussed.
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      1          Ashley, not sure where you are geographically....relative
                 to time zones, are you available to talk with me live
      2          tomorrow around 8 AM or 8:30 AM Pacific time?

      3          Rick [Gilbert]

      4    Common Ex., Email from Gilbert to Keller and Niro 916, ECF No. 248

      5    (emphasis added).

      6          October 9, 2015 was a busy day in the life of this dispute.      At

      7    the outset, settlement funds from Mitsubishi Electric were deposited

      8    into the Niro firm’s trust account.    Agreed Facts 14:7-9, ECF No. 240.

      9    On the same day, the Niro firm paid itself $21,450,000 for services

     10    rendered and costs incurred. Agreed Facts 14:11-14, ECF No. 240.      Also

     11    on October 9, 2015, Ashley Keller sent Ray Niro of the Niro firm a

     12    demand for full payoff. Grail Semiconductor was not copied on the

     13    email, nor does the record reflect it knew of Sedgwick’s demand.       The

     14    email read:

     15          Ray,

     16          Per our discussion, Sedgwick’s exact payoff amounts under
                 the Forward Purchase Agreement are as follows: if paid
     17          today [Friday, October 9, 2015], Sedgwick is entitled to
                 $12,269,881.61. That number is based on $4,015,725.21
     18          deployed at a 3x multiple plus $222,705.98 in commitment
                 fees on the committed but undeployed amount.
     19
                 ...
     20
                 Best,
     21
                 Ashley [Keller]
     22

     23    Common Ex., Email from Keller to Niro dated October 9, 2015, 921, ECF

     24    No. 248; Agreed Facts 15:3-8, ECF No. 240.    For its part, the Niro

     25    firm initiated the wire transfer to GKC Partners II, LLP in the amount

     26    of $12,269,881.61, on October 9, 2015, but it was not completed until

     27    October 13, 2015.   Common Ex., Email from McCarthy to Keller dated

     28    October 9, 2015, 927928, ECF No. 248; Agreed Facts 14:15-16, ECF No.
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      1    240. 5

      2             On Monday, October 12, 2015, three days after the wire transfer

      3    to GKC Partners II, LLP was initiated but before those funds arrived,

      4    director Gilbert sent Ashely Keller, GKC, Paul Aronowitz (Gilbert’s

      5    personal attorney) and Ray Niro, the Niro firm, an email; it stated:

      6             Ashley and Tim:
      7             Attached is a rough draft of the agreement we have been
                    discussing concerning negotiation and disposition of the
      8             amounts payable to GKC upon settlement of the [Mitsubishi
                    Electric] litigation. In the interest of time, I am
      9             circulating this draft without input of Tim [Charshaf,
                    counsel for Grail Semiconductor], on behalf of Grail, or
     10             from Paul [Aronowitz], on my own behalf. With apologies
                    for the delay in getting this out, I am hoping we can have
     11             an acceptable document for presentation to the Grail board
                    [of directors] on Wednesday afternoon.
     12
                    Note that a similar draft is contemporaneously being sent
     13             to Ray Niro.
     14             Rick [Gilbert]

     15    Common Ex., Gilbert email 930, ECF No. 249; Agreed Fact 16:6-10, ECF

     16    No. 240.

     17    Attached to the email was a “Letter of Intent” addressed to Ashely C.

     18    Keller at GKC:

     19             This letter will set out the understanding and intent of
                    Grail Semiconductor, Inc. (‘Grail’) and Gerchen Keller
     20             Capital, LLC (‘GKC’) with respect to certain sums which
                    will become due to GKC from Grail on the occasion of the
     21             receipt of proceeds from Grail’s pending action against
                    Mitsubishi Electric & [E]lectronics, USA, Inc., now pending
     22             in the Superior Court of California in Santa Clara County
                    (‘the MEUS Litigation’).
     23
                    This understanding and intent arises from the belief of
     24             Grail and GKC that the MEUS Litigation will shortly be
                    resolved by way of compromise. Grail and GKC recognize
     25
           5 Over the term of the agreement with GKC, only three of the eight capital
     26    advances came from Sedgwick: November 5, 2014; November 13, 2014; and
           November 20, 2014. Agreed Facts 12:6-14, ECF No. 240. The other five
     27    transfers came from GKC Partners II LLP: February 27, 2015; May 28, 2015;
           August 26, 2015; September 24, 2015; and October 27, 2015. Agreed Facts
     28    12:15-13:5, ECF No. 240.
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      1            that there is uncertainty with respect to the nature and
                   amount of claims of third parties which might be asserted
      2            against the proceeds of such a compromise such that the
                   ability of Grail to meet all of its creditor obligations
      3            depending upon the amount of such proceeds is subject to
                   question and, under certain circumstances, could result in
      4            a distribution to GKC of less than the amount to which it
                   is contractually entitled to receive.
      5
                   In light of the circumstances, Grail and GKC agree that it
      6            is in the interest of both entities to enter into good
                   faith negotiations for an agreed-upon reduction of the
      7            amounts currently payable to GKC by Grail in accordance
                   with its existing funding and other agreements in order to
      8            liquidate such obligation in the best interest of Grail and
                   GKC. It is further agreed that it is in the interests of
      9            both Grail and GKC that, should the MEUS Litigation be
                   resolved by compromise as anticipated, the full amount due
     10            GKC shall be immediately distributed by Grail to GKC with
                   the understanding that GKC warrants and represents that it
     11            shall, at all times during the course of negotiations
                   required by this Agreement, have sufficient liquid assets
     12            available to refund to Grail the finally negotiated
                   discount amount within five business days of the formal
     13            approval of such agreement.

     14            As further consideration of this agreement, GKC agrees that
                   it will cooperate with Grail in the negotiation and
     15            settlement of competing claims against the proceeds of the
                   MEUS Litigation.
     16

     17    Common Ex., Letter of Intent 931-932, ECF No. 249 (emphasis added);

     18    Agreed Facts 16:6-10.

     19            When asked about the Letter of Intent, director Gilbert described

     20    the purpose of the Letter of Intent transmitted to GKC on October 12,

     21    2015.

     22            [The Letter of Intent] was to put in a more formal format
                   an agreement that had been made that we felt the best way
     23            to proceed was to go ahead and pay [GKC’s] amount in light
                   of their status where there’s a clear understanding that
     24            they would be negotiating a reduction of that, as we
                   negotiated the entirety of the creditor claims, in an
     25            attempt to come to a global resolution of those claims.

     26    Common Ex., Gilbert Dep. 1257:10-25, ECF No. 251 (emphasis added).

     27            On October 13, 2015, the Niro firm paid Donald Stern $2,750,000

     28    from its trust account.    Agreed Facts 14:11-15-19, ECF No. 240.
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      1          On October 14, 2015, at 9:48 a.m., Douglas Gruener, GKC’s general

      2    counsel, sent an email to director Gilbert; Ashley Keller was copied

      3    on the email.   It stated: “Richard [Gilbert]: Please find attached a

      4    few minor comments to the draft Letter of Intent.   Thank you, Douglas

      5    G. Gruener[,] Gerchen Keller Capital, LLC.”   Agreed Facts 16:11-14,

      6    ECF No. 240; Common Ex., Gruener Email 937, ECF No. 249.   Counsel

      7    Gruener’s changes softened GKC’s agreement to negotiate a post-payment

      8    reduction of amounts due.   Common Ex., Letter of Intent 940, ECF No.

      9    249 (removing the phrase “an agreed-upon reduction” and qualifying its

     10    promise to negotiate a reduction agreement with the parenthetical “(if

     11    any).”   Notably, Gruener’s version of the Letter of Intent recited

     12    verbatim the following provisions of Gilbert’s draft agreement: (1)

     13    that “the full amount due GKC shall be immediately distributed by

     14    Grail Semiconductor to GKC”; and (2) GKC’s promise to assist in the

     15    negotiation and settlement of competing claims.   Common Ex., Letter of

     16    Intent by Gruener, 940, ECF No. 249.

     17          Later, on October 14, 2015, director Gilbert responded to

     18    Gruener:

     19          I am fine with these changes and will recommend it [the
                 revised Letter of Intent]” to Grail’s Board of Directors.
     20          Ray [Niro] wanted language limiting the use of the
                 negotiated refund. He does not want any money going to
     21          Grail’s usual foibles. I have proposed some limiting
                 language to him-I felt his [language] was too restrictive
     22          and said too much. If that is not a concern to you, I
                 would rather not have it in the agreement, but wanted you
     23          to be aware since we had been transparent with respect to
                 our discussions with both GKC and Niro.
     24

     25    Agreed Facts 16:15-22; Common Ex., Gilbert Email 937, ECF No. 249

     26    (emphasis added).

     27          Ashely Keller approved the agreement.   On October 14, 2015, at

     28    10:33 a.m. he sent Richard Gilbert an email; the subject line stated,
                                               32
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      1    “Draft Letter of Intent.”      It was short, stating simply, “Our language

      2    is fine with us.      No further restrictions required.”    Common Ex.,

      3    Keller email to Gilbert dated October 14, 2015, 937, ECF No. 240.

      4          The Letter of Intent was not executed by Grail Semiconductor or

      5    GKC/Sedgwick.      Common Ex., Gilbert Dep. 1265:4-9, ECF No. 251; Common

      6    Ex., Keller Dep. 1570:4-21, ECF NO. 251.         None of the money paid to

      7    GKC was repaid to Grail Semiconductor.      Common Ex., Gilbert Dep.

      8    1265:10-21, ECF No. 251

      9          On October 15, 2015, the Niro firm demanded, and on October 27,

     10    2015, GKC Partners II LLP paid, the Niro firm an additional

     11    $498,931.88 for litigation expenses incurred on behalf of Grail

     12    Semiconductor.      Agreed Facts 13:4-5, 17:11-17, ECF No. 240.    That

     13    post-settlement demand, and disbursement, formed the basis of

     14    Sedgwick’s original Proof of Claim 12-1, in the amount of

     15    $1,496,795.40. 6

     16          H.    Grail Semiconductor’s Board Meets and the Niro Firm
                       Distributes More Settlement Proceeds
     17
                 On October 14, 2015, at 3:15 p.m., after the Niro firm had paid
     18
           itself and Sedgwick, the Grail Semiconductor Board of Directors met.
     19
           Directors Donald Stern, Robert Stern and Richard Gilbert were present.
     20
           Ray Niro of the Niro firm and corporate counsel Timothy Charshaf were
     21
           also present.      Neither GKC, nor Sedgwick, representatives attended the
     22
           Board of Directors meeting.      The Board ratified the $55 million
     23
           settlement with Mitsubishi Electric, authorized payment to the Niro
     24
           firm in the amount of $21,450,000 and to GKC in the amount of
     25
           6 Consistent with the terms of Grail’s agreement with Sedgwick, disbursements
     26    by Sedgwick were to be repaid at three times the amount disbursed. Common
           Ex., Prepaid Purchase Agreement §§ 1, 2.5, 0814-0815, February 5, 2021, ECF
     27    No. 247; Common Ex., Keller Dep. 1496:14-1502:7, February 5, 2021, ECF No.
           251. Three times $498,931.88 equals $1,496,795.64. Compare Proof of Claim
     28    No. 12-1 $1,496,795.40 ($0.24 error).
                                                  33
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      1    $12,271,291.00.   Common Ex., Minutes of Special Board Meeting on

      2    October 14, 2015, 654, ECF No. 245.    The minutes indicated “Further

      3    negotiations will be had with Mr. Niro and GKC regarding a reduction

      4    of the fees paid to them and the anticipated return of a portion of

      5    those fees.”   Id.   Those minutes also state “Director Gilbert is

      6    authorized to negotiate with 1CL [1st Class Legal] to settle its

      7    claims subject to Board approval.”    Id.   The Board of Directors also

      8    approved GKC’s offer to act on its behalf to negotiate, settle and

      9    advance funds with respect to Grail Semiconductor’s remaining

     10    creditors:

     11          The seventh matter before the Board was the need to appoint
                 point persons to negotiate with the corporation’s remaining
     12          creditors any claims they may have. Director Gilbert
                 represented to the Board that GKC had agreed to assist in
     13          this regard and to negotiate and pay creditors so
                 designated by the corporation from its own funds (to be
     14          later credited back to GKC), after Board approval, and that
                 this procedure would be beneficial to the corporation as
     15          GKC could offer immediate payment, upon Board approval, in
                 lieu of the creditor having to wait a prolonged period of
     16          time to satisfy its claim or for the need of litigation.
                 The Board also fully discussed the granting of authority to
     17          Director Gilbert to negotiate any and all claims against
                 the corporation subject to the Board’s approval of any
     18          final, proposed terms. Upon motion duly made, seconded and
                 unanimously approved it was:
     19
                 RESOLVED: Director Gilbert is authorized to negotiate an
     20          arrangement with GKC whereby GKC will be authorized to
                 negotiate claims with certain creditors so designated by
     21          the corporation, in cooperation with Director Gilbert, and
                 to pay those creditors only upon Board approval of any
     22          final, proposed terms. The corporation will then credit
                 back to GKC any such settlement sum that has Board approval
     23          together with any compensation to GKC agreed and approved
                 by the Board. Director Gilbert is authorized to negotiate
     24          any and all claims against the corporation subject to the
                 Board’s approval of any final, proposed terms.
     25

     26    Common Ex., Minutes of Special Meeting of the Board of Directors on

     27    October 14, 2015, 654, ECF No. 245 (emphasis added).

     28          On October 16, 2015, the Niro firm paid from its trust account:
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      1    (1) Grail Semiconductor the amount of $2,250,000.00; and (2) 1st Class

      2    Legal the amount of $14,600,000.00.     Agreed Facts 14:19-23, ECF No.

      3    240.   After these payments $1,680,118.39 of the Mitsubishi Electric

      4    settlement proceeds remained.    Agreed Funds 14:24-28, ECF No. 240.

      5           In summary, the Niro firm and GKC/Sedgwick were paid; Third

      6    Priority creditors Donald Stern and 1st Class Legal were paid.     Grail

      7    Semiconductor also received settlement monies.     Creditors NewDelman,

      8    Holze, and Higgins received nothing.

      9           I.   Grail Semiconductor files Chapter 11
     10           Grail Semiconductor and Sedgwick’s efforts to negotiate

     11    resolution of all creditor’s claims failed.     Agreed Facts 16:4-5, ECF

     12    No. 240.

     13           In December 2015, Grail Semiconductor filed a voluntary Chapter

     14    11 petition.   Agreed Facts 3:9-11, ECF No. 240.   The remaining

     15    Mitsubishi Electric litigation settlement proceeds were turned over to

     16    Grail Semiconductor, or its estate, shortly after it filed for Chapter

     17    11 protection.   Agreed Facts 14:24-27, ECF No. 240.

     18           Shortly thereafter, the case was converted to Chapter 7, and

     19    Sheri L. Carello was appointed the trustee.     Agreed Facts 3:12-14, ECF

     20    No. 240.

     21           As pertinent here, the following parties hold unsecured claims

     22    against the estate: Sedgwick $3.5 million; NewDelman $1,732,500; Holze

     23    $346,500; and Higgins $1,039,500.     Agreed Facts 4:1-5:10, ECF No. 240.

     24           Trustee Carello asserted her avoidance powers.   As pertinent

     25    here, she filed a preference action against 1st Class Legal.     Carello

     26    v. 1st Class Legal (IS) Limited, No. 17-2249 (Bankr. E.D. Cal. 2017);

     27    Common Ex., Adversary Complaint 359-420, ECF No. 244.

     28           At the same time, Carello rattled her saber at Sedgwick
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      1    FundingCo, LLC, alleging “certain claims” against it.       Common Ex.,

      2    Settlement Agreement between Carello and Sedgwick FundingCo, LLC 402

      3    para. I, ECF No. 244.

      4          Carello and Sedgwick mediated their dispute, which resulted in a

      5    settlement.       Common Ex., Settlement Agreement 401-408, ECF No. 244.

      6    In exchange for a $2.25 million payment, trustee Carello: (1) assigned

      7    her interests in the 1st Class Legal avoidance action to Sedgwick free

      8    and clear of all encumbrances and interests, 11 U.S.C. § 363(f); (2)

      9    increased Sedgwick’s Proof of Claim 12-1 to the amount of $3,500,000

     10    (unsecured); 7 and (3) released her claims against Sedgwick.     The

     11    agreement also preserved Sedgwick’s rights under the Priority

     12    Agreement:

     13          8.   Priority Agreements. The Parties agree that Sedgwick
                 shall be permitted to assert any and all claims, rights and
     14          causes of action of Sedgwick’s that may exist against all
                 of the non-Debtor parties to the Priority Agreements,
     15          subject to the following agreed upon procedure:
     16                 a.    In connection with any legal proceedings with
                        respect to such claims, rights and causes of action,
     17                 Trustee shall take no position with respect to any
                        prejudgment remedies sought by Sedgwick and Sedgwick’s
     18                 claim that the Priority Agreements are binding, valid
                        and fully enforceable in accordance with their terms;
     19
                        b.    Within 30 calendar days after the Effective
     20                 Date, Sedgwick shall file an adversary complaint
                        against NewDelman, Holze, Higgins, Hofer, Niro and/or
     21                 [1st Class Legal] (herein the “Subordinated Parties”)
                        seeking declaratory judgment and any other forms of
     22                 relief with respect to Sedgwick’s claim of priority
                        over the Subordinated Parties in connection with the
     23                 distribution of assets from the Bankruptcy Estate
                        (herein the “Priority Proceedings”); for
     24                 clarification, the Parties expressly agree that
                        Sedgwick shall not assert any rights, claims or causes
     25                 of action against Donald S. Stern and/or the Trustee
                        in the Priority Proceedings;
     26
                        c.      Within 30 days prior to any distribution of any
     27
           7 The settlement agreement increased Sedgwick’s claim from $1,496,795.40, to
     28    $3.5 million. Compare, Proof of Claim No. 12-1 with Proof of Claim No. 12-2.
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      1                 assets of the Bankruptcy Estate to the holders of
                        allowed claims, the Trustee shall file an interpleader
      2                 action pursuant to Bankruptcy Rule 7022 whereby such
                        assets shall not be distributed to the Subordinated
      3                 Parties until completion of, and only to the extent
                        permitted by any orders entered in the Priority
      4                 Proceedings; and

      5                 d.    The Bankruptcy Court shall retain jurisdiction
                        over the Priority Proceedings even in the event that
      6                 the Bankruptcy Case is closed prior to final
                        adjudication of the Priority Proceedings.
      7

      8    Common Ex., Settlement Agreement § 8, 405, ECF No. 244 (emphasis

      9    original).

     10          Trustee Carello moved to approve the compromise, Fed. R. Bankr.

     11    P. 9019, and NewDelman, Higgins and Holze opposed approval of the

     12    Carello-Sedgwick settlement.    Common Ex., Civil Minutes, 409-420, ECF

     13    No. 244.   The court approved the compromise and free and clear sale

     14    but specifically provided that (1) the order did not “extinguish or

     15    modify” any “claim, defense or right” that any nonparty may have

     16    against Sedgwick; (2) trustee Carello would interplead “distributions

     17    to be made to Sedgwick”; and (3) ordered that “the Subordinated

     18    Parties (as defined in the Settlement Agreement) shall be required to

     19    file any Affirmative Claims against Sedgwick as a crossclaim and/or

     20    counterclaim in the Priority Proceedings...”    Common Ex., Order

     21    Granting Motion to Approve Compromise para. 7(e) 397-399, ECF No. 244

     22    (emphasis original).

     23          In 2016, Raymond P. Niro died and in 2017, the Niro firm ceased

     24    operations.    Mot. Approve Settlement at 2, In re Grail Semiconductor,

     25    No. 15-29890 (Bankr. E.D. Cal. July 5, 2017), ECF No. 742.     Trustee

     26    Carello settled her claim with the Estate of Raymond P. Niro and the

     27    Niro firm’s former shareholders for $1.35 million.    Id.   That

     28    settlement was approved by this court.    Order, In re Grail
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      1    Semiconductor, No. 15-29890 (Bankr. E.D. Cal. August 4,2017), ECF No.

      2    810.

      3           The trustee has filed her Final Report and, pursuant to order of

      4    this court, distributions to be made on account of the Sedgwick and

      5    NewDelman Group Proofs of Claim were deposited into the Registry of

      6    Funds of the United States Bankruptcy Court for the Eastern District

      7    of California in the amount of $2,152,692.63.   Agreed Facts 5:21-6:2,

      8    ECF No. 240.   That figure is comprised of (1) $763,681.75 on account

      9    of Sedgwick’s Proof of Claim No. 12-2; (2) $708,570.44 on account of

     10    Sedgwick’s Proof of Claim No. 12-2 under the terms of a settlement

     11    between Sedgwick and Ronald Hofer, Sedgwick’s former Chief Executive

     12    Officer; and (3) $680,440.44 on account of the NewDelman Group’s

     13    Proofs of Claim Nos. 28-2, 29-2, and 30-2.

     14    II.    PROCEDURE

     15           Sedgwick filed the instant adversary proceeding for declaratory

     16    relief, contending that the Priority Agreement is a valid and

     17    enforceable subordination agreement, 11 U.S.C. § 510(a), and entitles

     18    it to all funds due the NewDelman Group until such time as its claim

     19    is paid in full.   Compl., November 1, 2018, ECF No. 1.     The NewDelman

     20    Group answered, asserting affirmative defenses of unclean hands,

     21    estoppel, offset, and in pari delicto, and filed a counterclaim,

     22    asserting claims for breach of contract, breach of the implied

     23    covenant of good faith and fair dealing, fraud, conversion,

     24    constructive trust, unjust enrichment, and civil conspiracy.     Am.

     25    Answer and Countercl., ECF No. 15.

     26           These cross-motions for summary judgment followed.    The parties

     27    agree Illinois state law controls, where state law provides the rule

     28    of decision.   Order, ECF No. 238.
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      1    III. JURISDICTION

      2            This court has jurisdiction.    28 U.S.C. §§ 1334(a)-(b), 157(b);

      3    see also General Order No. 182 of the Eastern District of California.

      4    As to the determination of whether Sedgwick or the NewDelman Group is

      5    entitled to the funds held by the Clerk of the Court, jurisdiction is

      6    core.    28 U.S.C. § 157(b)(2)(A), (B), (O); 11 U.S.C. § 510(a).      As to

      7    the court’s jurisdiction over state law damages claims against

      8    Sedgwick beyond the funds held by the Clerk of the Court, jurisdiction

      9    is non-core and supplemental.    28 U.S.C. § 1367.    All parties have

     10    consented to entry of final orders and judgments.       28 U.S.C. §

     11    157(b)(3); Wellness Int’l Network, Ltd. v. Sharif, 135 S.Ct. 1932,

     12    1945-46 (2015); Compl. 2:27-28, ECF No. 1 (plaintiff); Order 2:9-28,

     13    ECF No. 231 (defendants); see also Stipulation of Agreed Facts 6:3-5,

     14    ECF No. 240 (plaintiff and defendants).

     15    IV.     LAW

     16            Federal Rule of Civil Procedure 56 requires the court to grant

     17    summary judgment on a claim or defense “if the movant shows that there

     18    is no genuine dispute as to any material fact and the movant is

     19    entitled to judgment as a matter of law.”       Fed. R. Civ. P. 56(a),

     20    incorporated by Fed. R. Civ. P. 56.      “[T]he mere existence of some

     21    alleged factual dispute between the parties will not defeat an

     22    otherwise properly supported motion for summary judgment; the

     23    requirement is that there be no genuine issue of material fact.”

     24    California v. Campbell, 138 F.3d 772, 780 (9th Cir. 1998) (citing

     25    Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986)).        “A

     26    fact is ‘material’ when, under the governing substantive law, it could

     27    affect the outcome of the case.”       Thrifty Oil Co. v. Bank of Am. Nat’l

     28    Trust & Sav. Ass’n, 322 F.3d 1039, 1046 (9th Cir. 2003) (citing
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      1    Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)).

      2          “The court must view the evidence in the light most favorable to

      3    the non-movant and draw all reasonable inferences in the non-movant’s

      4    favor.”   Swoger v. Rare Coin Wholesalers, 803 F.3d 1045, 1047 (9th

      5    Cir. 2015) (citing Clicks Billiards Inc. v. Sixshooters Inc., 251 F.3d

      6    1252, 1257 (9th Cir. 2001)).

      7          A shifting burden of proof applies to motions for summary

      8    judgment.    In re Oracle Corp. Sec. Litig., 627 F.3d 376, 387 (9th Cir.

      9    2010).    “The moving party initially bears the burden of proving the

     10    absence of a genuine issue of material fact.”      Id.

     11          “Where the non-moving party [e.g., a plaintiff] bears the burden

     12    of proof at trial, the moving party need only prove that there is an

     13    absence of evidence to support the non-moving party’s case. Where the

     14    moving party meets that burden, the burden then shifts to the non-

     15    moving party to designate specific facts demonstrating the existence

     16    of genuine issues for trial.”    Id. (citation omitted). The Ninth

     17    Circuit has explained that the non-moving party’s “burden is not a

     18    light one.   The non-moving party must show more than the mere

     19    existence of a scintilla of evidence.”     Id.   “In fact, the non-moving

     20    party must come forth with evidence from which [the factfinder] could

     21    reasonably render a verdict in the non-moving party’s favor.”     Id.

     22          When the moving party has the burden of persuasion at trial

     23    (e.g., a plaintiff on claim for relief or a defendant as to an

     24    affirmative defense), the moving party’s burden at summary judgment is

     25    to “establish beyond controversy every essential element of its . . .

     26    claim.”   S. California Gas Co. v. City of Santa Ana, 336 F.3d 885, 888

     27    (9th Cir. 2003) (internal quotation marks omitted).      In such a case,

     28    there is no need to disprove the opponent’s case “[i]f the evidence
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      1    offered in support of the motion establishes every essential element

      2    of the moving party’s claim or [affirmative] defense.” Hon. Virginia

      3    A. Phillips & Hon. Karen L. Stevenson, Federal Civil Procedure Before

      4    Trials, Calif. & 9th Cir. Edit., Summary Judgment, Burden of Proof ¶

      5    14:126.1 (Rutter Group 2019).

      6          A party may support or oppose a motion for summary judgment with

      7    affidavits or declarations that are “made on personal knowledge” and

      8    that “set out facts that would be admissible in evidence.”    Fed. R.

      9    Civ. P. 56(c)(4).   The assertion “that a fact cannot be or is

     10    genuinely disputed” may be also supported by citing to other materials

     11    in the record or by “showing that the materials cited do not establish

     12    the absence or presence of a genuine dispute, or that an adverse party

     13    cannot produce admissible evidence to support the fact.”    Fed. R. Civ.

     14    P. 56(c)(1).

     15          “A motion for summary judgment cannot be defeated by mere

     16    conclusory allegations unsupported by factual data.”    Angel v.

     17    Seattle-First Nat’l Bank, 653 F.2d 1293, 1299 (9th Cir. 1981) (citing

     18    Marks v. U.S. Dep’t of Justice, 578 F.2d 261, 263 (9th Cir. 1978)).

     19    “Furthermore, a party cannot manufacture a genuine issue of material

     20    fact merely by making assertions in its legal memoranda.”    S.A.

     21    Empresa de Viacao Aerea Rio Grandense v. Walter Kidde & Co., 690 F.2d

     22    1235, 1238 (9th Cir. 1982).

     23    V.    DISCUSSION

     24          A.   Absent an Enforceable Intercreditor Agreement, Entitlement
                      to the Mitsubishi Electric Litigation Proceeds is
     25               Controlled by the Uniform Commercial Code
     26          Without consideration of the effect of the Priority Agreement on

     27    the parties’ rights, the rights of Sedgwick vis-à-vis the NewDelman

     28    Group to the proceeds are unclear.     Illinois has adopted the Uniform
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      1    Commercial Code.   810 ILCS § 5/1-101.     Article 9 of the Uniform

      2    Commercial Code applies to liens against a cause of action for breach

      3    of contract and its proceeds.    810 ILCS § 5/9-109(d)(12).

      4          The Uniform Commercial Code specifies the priority of the parties

      5    to the proceeds:

      6          (a) General priority rules. Except as otherwise provided
                 in this Section, priority among conflicting security
      7          interests and agricultural liens in the same collateral is
                 determined according to the following rules:
      8
                     (1) Conflicting perfected security interests and
      9              agricultural liens rank according to priority in time
                     of filing or perfection. Priority dates from the
     10              earlier of the time a filing covering the collateral is
                     first made or the security interest or agricultural
     11              lien is first perfected, if there is no period
                     thereafter when there is neither filing nor perfection.
     12
                     (2) A perfected security interest or agricultural lien
     13              has priority over a conflicting unperfected security
                     interest or agricultural lien.
     14
                     (3) The first security interest or agricultural lien
     15              to attach or become effective has priority if
                     conflicting security interests and agricultural liens
     16              are unperfected.
     17    810 ILCS § 5/9-322(a)

     18          A cause of action is a general intangible, White, Summers, &

     19    Hillman, Uniform Commercial Code § 30:27 (6th ed.) (“Under 9-

     20    109(d)(12) if the claim arises in a contract or something other than

     21    tort, it is not excluded from Article 9 and is subject to conventional

     22    security interest rules as a general intangible”).      Here, Grail

     23    Semiconductor’s rights are contractual and, therefore, are covered by

     24    the Uniform Commercial Code.    Ordinarily, a lien against such a cause

     25    of action is perfected by filing a financing statement.       810 ILCS §§

     26    5/9-310(b), 5/9-315(a)(2).   Sedgwick created, and, on November 4,

     27    2014, perfected a security interest in litigation proceeds.      Common

     28    Ex., Security Agreement 840, ECF No. 247; Agreed Facts 12:3-5, ECF No.
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      1    240.   In contrast, at least Grail Semiconductor considered the April

      2    12, 2012, Amended Fee Agreement naming the NewDelman Group to create a

      3    security interest.    Common Ex., Prepaid Forward Purchase Agreement §

      4    3.2 and Schedule 3.2(b) 819, 829, ECF No. 247 (describing the

      5    NewDelman Group’s interests as encumbrances).    But neither party

      6    offers evidence as to whether the NewDelman Group perfected their

      7    interest by filing a financing statement.

      8           Even so, a properly executed intercreditor agreement overrides

      9    those priorities and allows parties to customize their rights.     “This

     10    Article [Article 9] does not preclude subordination by agreement by a

     11    person entitled to priority.”    810 ILCS § 5/9-339.   Intercreditor

     12    agreements define their rights and remedies of creditors vis-à-vis

     13    each other with respect to a common debtor.     Bowling Green Sports

     14    Center, Inc., v. G.A.G. LLC, 413 Ill.Dec. 123, 128 (Ill. App. Ct.

     15    2017); 11 U.S.C. § 510(a); Sun Life Assurance Co. of Canada v. Great

     16    Lakes Business Credit LLC, 968 F.Supp.2d 898, 910 (N.D. Ill. 2013)

     17    (applying Michigan law); Jonathon P. Friedland, Commercial Bankruptcy

     18    Litigation § 18:1 (January 2021) (such agreements “confirm[] or

     19    modif[y] the pre-existing priority rankings of those claims relative

     20    to each other...”).

     21           B.   Sedgwick’s Claims Against the NewDelman Group: The Priority
                       Agreement
     22

     23           Sedgwick contends that: (1) it-—or perhaps GKC on its behalf--

     24    entered a “binding and enforceable” intercreditor agreement, known to

     25    the parties as the Priority Agreement, with the NewDelman Group; and

     26    (2) that the intercreditor agreement entitles it to be “paid in full”

     27    prior to any distribution to NewDelman creditors.      Mot. Summ. J. 1:18-

     28    2:1, ECF No. 255.
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      1               1.      Was the Priority Agreement a contract?

      2          As a rule, bankruptcy courts will enforce intercreditor

      3    agreements.     “A subordination agreement is enforceable in a case under

      4    this title to the same extent that such agreement is enforceable under

      5    applicable nonbankruptcy law.”     11 U.S.C. § 510(a); In re Holiday

      6    Mart, Inc., 715 F.2d 430, 435 (9th Cir. 1983); In re Sunset Bay

      7    Assocs., 944 F.2d 1503, 1508 (9th Cir. 1991).    In contrast, a

      8    subordination agreement unenforceable under applicable state law is

      9    unenforceable in bankruptcy.    In re Sepco, Inc., 750 F.2d 51, 53 (8th

     10    Cir. 1984).

     11          Illinois follows the common law of contracts.    A contract

     12    requires: “(1) offer and acceptance; (2) definite and certain terms;

     13    (3) consideration; and (4) performance of all required conditions.”

     14    Tower Invs., LLC v. 111 E. Chestnut Consultants, Inc., 371 Ill. App.3d

     15    1019, 1027 (2007), citing Zirp–Burnham, LLC v. E. Terrell Associates,

     16    Inc., 356 Ill.App.3d 590, 600 (2005).

     17          Acceptance has a particular meaning in Illinois law:

     18          An acceptance may be indicated in various ways, depending
                 on the varying circumstances of each case. If the offer
     19          prescribes the mode of acceptance, no contract can result
                 unless the acceptance is made accordingly; if, however, no
     20          particular mode of acceptance is specified by the offer,
                 acceptance need not be express or formal, but may be shown
     21          by words, conduct, or acquiescence indicating assent to the
                 offer.
     22

     23    12 Romualdo P. Eclavea et al., Ill. Law and Prac., Contracts § 26

     24    (August 2021).

     25          The central contract question is acceptance.    GKC was the last

     26    signatory to the Priority Agreement; the issue arises out of GKC’s

     27    addition of the parenthetical “(including its affiliate [Sedgwick

     28    Funding Co, LLC]” after the phrase “Second Priority: GKC” and out of
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      1    its request for the other creditors to initial that change.

      2          Sedgwick offers two arguments for the validity and enforceability

      3    of the Priority Agreement.

      4                     a.   The NewDelman Group’s acceptance by signed
                                 agreement
      5
                 Sedgwick argues that it, or perhaps GKC on its behalf, accepted
      6
           the NewDelman Group’s offer, i.e., the Priority Agreement.    This court
      7
           disagrees.
      8
                 In order to constitute a contract by offer and acceptance,
      9          the acceptance must, in every respect, meet and correspond
                 with the offer, neither falling short of nor going beyond
     10          the terms of the offer proposed, but exactly meeting them
                 at all points and closing with them just as they
     11          stand....However, any definite and seasonal expression of
                 acceptance may operate as an acceptance, even though it is
     12          not the mirror image of the offer, unless the acceptance is
                 expressly made conditional on assent to the additional or
     13          different terms.
     14    12 Romualdo P. Eclavea et al., Ill. Law and Prac., Contracts § 25

     15    (August 2021).

     16          Illinois law provides that an acceptance that adds new terms does

     17    not create a contract but rather is a counter-offer.   Snow v.

     18    Schulman, 352 Ill. 63, 71 (1933); Finsky, for Use of Finsky v. Odman,

     19    337 Ill. App. 295, 307 (1949); Restatement (Second) of Contracts § 59

     20    (1981).

     21          Where a person offers to do a definite thing and another
                 accepts it conditionally, or introduces a new term or adds
     22          qualifications into the acceptance, the answer is either a
                 mere expression of willingness to negotiate further or is a
     23          counterproposal, but in neither case is there a contract.
                 Indeed, a reply to an offer which adds qualifications or
     24          requires performance of conditions is not an acceptance.
     25    12 Romualdo P. Eclavea et al., Ill. Law and Prac., Contracts § 28

     26    (August 2021).

     27          Moreover, an offer may only be accepted “by the particular person

     28    to whom it is addressed.”    Id.; Apostolic Revival Tabernacle v.
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      1    Charles J. Fedel, Inc., 131 Ill.App.2d 579, 580-581 (1970); Brook v.

      2    Oberlander, 49 Ill.App.2d 312, 319 (1964).    Finally, a switch in the

      3    identity of the other party to the contract is a material change in

      4    the terms of the offer, such that a contract may not be formed by mere

      5    acceptance with change of the identity of the opposing party.    As one

      6    court said, “‘To constitute a valid contract, the minds of the parties

      7    must have met on the identity of persons with whom they are dealing.

      8    Everyone has a right to select and determine with whom he will

      9    contract[,] and another cannot be thrust upon him without his

     10    consent.’” Davito v. Blakely, 96 Ill.App.2d 196, 201 (1968), quoting

     11    12 Am.Jur. Contracts, Sec. 38 (emphasis added); Apostolic Revival

     12    Tabernacle v. Charles J. Fedel, Inc., 131 Ill.App.2d 579, 580-581

     13    (1970).

     14           Here, as a matter of law, Sedgwick cannot accept an offer made to

     15    GKC.   Apostolic Revival Tabernacle, 131 Ill.2d at 580; Brook, 49

     16    Ill.App.2d at 320.   Moreover, GKC’s argument that its effort to accept

     17    created a third-party beneficiary contract for Sedgwick’s benefit is

     18    not convincing.   Even if Sedgwick could evade the rule that the

     19    NewDelman Group had “the right to choose the person with whom [it]

     20    deals,” Brook, 49 Ill.App.2d at 319, Betsy Thelen’s reply created a

     21    counteroffer, which itself must be accepted.    Common Ex., Email from

     22    Thelen to Hofer November 26, 2014, 868, 876, ECF No. 248.    Thelen

     23    acknowledged this by asking the parties to initial the change.      Viewed

     24    through the lens of hindsight, we know that Mitchell NewDelman and

     25    Frank Holze objected, albeit without informing GKC, to the change in

     26    the cast of players.   Common Ex., Email from NewDelman to Higgins

     27    dated November 29, 2014, 880, ECF No. 248; Common Ex., Email from

     28    Holze to NewDelman November 30, 2014, 879, ECF No. 248.    We also know
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      1    that the members of the NewDelman Group did not initial the addition

      2    of Sedgwick.   Common Ex., Keller Dep. 1509:19-1510:20, 1512:9-14,

      3    1521:19-1523:5, ECF No. 251; Common Ex., NewDelman Dep. 1138:8-19, ECF

      4    No. 251; Common Ex., Higgins Dep. 1470:19-1471:19, ECF No. 251; Common

      5    Ex., Holze Dep. 1708:1-14, ECF No. 251.

      6          It is possible that the Priority Agreement could have been

      7    accepted by another method.   While an offer may specify the method of

      8    acceptance, Brach v. Matteson, 298 Ill. 387, 392 (1921), Betsey

      9    Thelen’s email indicating that it would be “cleanest if everyone could

     10    re-initial the first page,” does not rise to that level.   As a result,

     11    the counter-offer, i.e., adding (“including its affiliate, Sedgwick

     12    FundingCo, LLC”) could be accepted orally or inferred from conduct.

     13    Anglo-American Provision Co. v. Prentiss, 157 Ill. 506, 42 N.E. 157

     14    (1895); Finsky, for Use of Finsky v. Odman, 337 Ill. App. 295 (1949);

     15    Bloch v. J. Stern & Sons, 152 Ill. App. 434 (1910); Northwestern Iron

     16    & Metal Co. v. Hirsch, 94 Ill. App. 579 (1901).   Here, there is

     17    insufficient evidence for the court to determine whether the revised

     18    Priority Agreement was accepted by a method other than execution.

     19                     b.    The NewDelman Group’s deemed acceptance by
                                  judicial admission
     20

     21          Sedgwick also contends that the NewDelman Group has made judicial

     22    admissions as to the validity of the agreement.   This court disagrees.

     23    Federal law governs application of judicial admission in federal

     24    courts.   Rissetto v. Plumbers and Steamfitters Local 343, 94 F.3d 597,

     25    603 (9th Cir. 1996).   “Judicial admissions are more than evidentiary

     26    admissions. They have the effect of removing the admitted fact from

     27    issue and wholly dispensing with the necessity for proof of the fact.”

     28    Robert E. Jones et al., Federal Civil Trials and Evidence § 8:982
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      1    (Rutter Group June 2021), citing American Title Ins. Co. v. Lacelaw

      2    Corp., 861 F.2d 224, 226 (9th Cir. 1988); Barnes v. Owens-Corning

      3    Fiberglas Corp., 201 F.3d 815, 829 (6th Cir. 2000); Selimi v. I.N.S.,

      4    312 F.3d 854, 860 (7th Cir. 2002).   “A trial judge has discretion

      5    whether to accept a judicial admission.”      Singer v. State Farm Mut.

      6    Auto. Ins. Co., 116 F.3d 373, 376 (9th Cir. 1997).     The existence of

      7    contrary evidence and the absence of prejudice is a sound reason to

      8    decline to invoke that doctrine.   Nash-Perry v. City of Bakersfield,

      9    2021 WL 3883681 *8 (E.D. Cal. August 31, 2021) (“Given the contrary

     10    evidence presented, the Court finds the allegations related to Z.S.

     11    did not “dispens[e] wholly with the need of proof for the fact,” and

     12    the defense did not rely upon these allegations”), citing Singer, 116

     13    F.3d at 376-77 (uphold invocation of judicial admission “[i]n the

     14    absence of any conflicting evidence”); Parker v. Arizona, 2019 WL

     15    2136290 at *3 (D. Ariz. May 13, 2019) (refusing to apply the doctrine

     16    where the admission was made “during the early stages of the case” as

     17    judicial admissions).   Given contrary evidence, this court will not

     18    deem the NewDelman Group’s responses judicial admissions as to the

     19    validity of the contract.

     20               2.   As a Matter of Law Implied Subordination Agreements Do
                           Not Exist.
     21

     22          Sedgwick argues that “[e]ven if the Priority Agreement was not an

     23    enforceable contract” that “it still would be the case that an implied

     24    contracts exits.”   Mem. P. & A. 24:12-15, ECF No. 257.

     25          This court disagrees.   The Uniform Commercial Code requires that

     26    subordination agreements be express.      810 ILCS § 5/9-339, Official

     27    Comment (“[o]nly the person entitled to priority may make such an

     28    agreement: a person's rights cannot be adversely affected by an
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      1    agreement to which the person is not a party”); In re Lunan Fam.

      2    Restaurants, 194 B.R. 429, 444 (Bankr. N.D. Ill. 1996) (“By executing

      3    a lien subordination agreement, the subordinating party agrees to

      4    demote the priority of its lien to that of another secured

      5    creditor...”) (quoting In re Lantana Motel, 124 B.R. 252, 256 (Bankr.

      6    S.D. Ohio 1990); W. Bank v. Matherly, 1987-NMSC-052, ¶ 11, 106 N.M.

      7    31, 33, 738 P.2d 903, 906 (“[a] subordination agreement by implication

      8    is not recognized; it must be expressed. 69 Am.Jur.2d Secured

      9    Transactions § 478 (1973)”).

     10                3.   Does the Priority Agreement require payment to
                            Sedgwick in full first or payment to all signatory
     11                     creditors simultaneously and at equal pace?
     12          If the Priority Agreement was, in fact, accepted and, therefore,

     13    is a binding contract, the parties disagree as to its meaning.     The

     14    agreement purports to do two things: (1) control timing of payment,

     15    i.e., “priority” vs. “concomitantly” (the “timing clause”); and (2)

     16    define the parties’ precedence to settlement proceeds vis-à-vis each

     17    other (the “precedence provisions”) in the event of an insufficiency

     18    of funds.   Sedgwick contends that each class of creditors bearing a

     19    lower numerical designation, e.g., “second priority,” must be paid in

     20    full before any settlement funds flow to a creditor with a higher

     21    numerical designation, e.g., “third priority.”     Mem. P. & A. 25:8-

     22    26:18, ECF No. 257.   The NewDelman Group contends that settlement

     23    funds be distributed among second and third priority creditors

     24    simultaneously and at an equal pace.      Respon. to Mot. Summ. J. 11:1-

     25    12:13, ECF No. 270.   The difference in construction determines the

     26    timing of payment and identifies which party bears the risk that

     27    settlement funds will be insufficient to pay all creditors.     Under

     28    Sedgwick’s interpretation, Third Priority creditors wholly bear the
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      1    risk of insufficiency; under the NewDelman Group’s construction, the

      2    risk is shared by second priority and third priority creditors.

      3          In construing the Priority Agreement, the central question is the

      4    intention of the parties.   Farmers Auto. Ins. Ass'n v. Wroblewski, 320

      5    Ill.Dec. 772 (2008).   In determining the parties’ intent, the State of

      6    Illinois follows the “four corners rule.”     That rule provides: “An

      7    agreement, when reduced to writing, must be presumed to speak the

      8    intention of the parties who signed it. It speaks for itself, and the

      9    intention with which it was executed must be determined from the

     10    language used. It is not to be changed by extrinsic evidence.”     W.

     11    Ill. Oil Co. v. Thompson, 26 Ill.2d 287, 291 (1962); URS Corp. v. Ash,

     12    101 Ill.App.3d 229, 234 (1981).   The Illinois Supreme Court has

     13    consistently followed this rule and has summarized its application.

     14          In applying this rule, a court initially looks to the
                 language of a contract alone. If the language of the
     15          contract is facially unambiguous, then the contract is
                 interpreted by the trial court as a matter of law without
     16          the use of parol evidence. If, however, the trial court
                 finds that the language of the contract is susceptible to
     17          more than one meaning, then an ambiguity is present. Only
                 then may parol evidence be admitted to aid the trier of
     18          fact in resolving the ambiguity.
     19    Air Safety, Inc. v. Tchrs. Realty Corp., 185 Ill.2d 457, 462–63 (1999)

     20    (internal citations omitted) (emphasis added).

     21          Using this approach, the starting point is whether ambiguity

     22    exits.   As one commentator articulated it:

     23          An ambiguous contract is one capable of being understood in
                 more senses than one; it is an agreement obscure in meaning
     24          through indefiniteness of expression, or having a double
                 meaning. A contract term is ambiguous if it can reasonably
     25          be interpreted in more than one way due to the
                 indefiniteness of the language or a double or multiple
     26          meaning. In other words, a contract is ambiguous if, and
                 only if, it is reasonably or fairly susceptible to
     27          different constructions when read in its plain and ordinary
                 meaning.
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      1    12A Romualdo P. Eclavea et al., Ill. Law and Prac., Contracts § 126

      2    (October 2021) (emphasis added).

      3           Unless and until the court finds the contract ambiguous, the

      4    court may not resort to the rules of construction, Gibbs v. People’s

      5    Nat. Bank, 198 Ill. 307, 312 (1902); 12A Romualdo P. Eclavea et al.,

      6    Ill. Law and Prac., Contracts §§ 124-165 (October 2021) (describing

      7    rules of construction); or admit parol evidence.   Shields Pork Plus,

      8    Inc. v. Swiss Valley Ag Service, 329 Ill.App.3d 305, 310-311 (2002).

      9          The agreement is unambiguous as applied to the Niro firm and to

     10    Grail Semiconductor; neither party contends otherwise.   As to the Niro

     11    firm, the Priority Agreement only amended the last sentence of

     12    paragraph 5 of the Amended Fee Agreement.    Common Ex., Priority

     13    Agreement 754-756, ECF No. 246.    But the second to the last sentence

     14    of the Amended Fee Agreement was not altered by the Priority

     15    Agreement.   It provided:

     16          This payment obligation of Grail is not intended to and
                 does not amend, lessen or supersede the determination of
     17          the amount and timing of our firm’s compensation or
                 reimbursement of expenses from each Recovery and that any
     18          payment made to 1st Class Legal or to the order of each of
                 the above named individuals pursuant to paragraph 5 shall
     19          not reduce or delay payments for our firm’s services or
                 reimbursement of expenses.
     20

     21    Common Ex., Amended Fee Agreement dated April 10, 2012, ¶ 4, 717, ECF

     22    No. 246.

     23    Similarly, the Priority Agreement is unambiguous as to Grail

     24    Semiconductor’s rights; the agreement provided that it received only

     25    the “[t]he remaining balance of the gross [r]ecoveries.”    Common Ex.,

     26    Priority Agreement 754-756, ECF No. 246.

     27          The more difficult problem is whether the Priority Agreement is

     28    ambiguous as to the “Second Priority” (GKC/Sedgwick) and the “Third
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      1    Priority” (the NewDelman Group) creditors.     The precise question is:

      2    does the phrase “Second Priority” as applied to payment to GKC and the

      3    word “concomitantly” and/or the phrase in “pari passu” as applied to

      4    payment to the NewDelman Group create an ambiguity such that the court

      5    should consider parol evidence or apply the rules of construction?

      6    Two principles guide this court’s inquiry into whether an ambiguity

      7    exists.   First, ostensible ambiguities must be reasonable and

      8    plausible, Paul B. Episcope, Ltd. v. L. Offs. of Campbell & Di

      9    Vincenzo, 373 Ill. App.3d 384, 391 (2007), as modified on denial of

     10    reh'g (May 29, 2007), and “[t]he interpretation of the party

     11    contending for ambiguity needs to be equally plausible to the

     12    construction of the party arguing the contract is unambiguous.”     Id.

     13    (emphasis added).

     14          Second, the court must consider the document as a whole, rather

     15    than isolated portions or words.   “[I]n determining whether or not

     16    there is such an ambiguity as calls for an interpretation of a

     17    contract the whole instrument must be considered and not an isolated

     18    part thereof.” Wilkin v. Citizens Nat. Bank of Paris, 298 Ill.App. 38,

     19    44 (1938); West v. Ranney Refrigerator Co., 261 Ill. 560, 564 (1914).

     20          “It is a familiar principle of contract construction that the

     21    words used be given their ordinary, natural and commonly accepted

     22    meaning unless it clearly appears that the parties intended to ascribe

     23    to them a peculiar or unusual meaning.” First Nat. Bank of La Grange

     24    v. Mid-States Eng'g & Sales, Inc., 103 Ill.App.3d 572, 574 (1981),

     25    citing Illinois Valley Asphalt, Inc. v. La Salle National Bank, 54

     26    Ill.App.3d 317, 321, (1977).

     27          Here, the timing clause and the precedence provisions clash

     28    beyond reconciliation rendering the Priority Agreement ambiguous.
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      1    Priority means “(1) “the quality or state of being prior”; or (2)

      2    “legal precedence in exercise of rights over the same subject matter”

      3    and “a preferential rating: especially: one that allocates rights to

      4    goods and services usually in limited supply.”     Webster’s New Explorer

      5    Encyclopedic Dictionary 1455 (2006).   Such a definition suggests

      6    precedence in time and in right.   In contrast, functioning as an

      7    adverb, “concomitantly” means “something that accompanies or is

      8    collaterally connected with something else,” Webster’s New Explorer

      9    Encyclopedic Dictionary 374 (2006), and “by percentages pari passu

     10    with “the above named individuals” means “at an equal rate or pace,”

     11    Id. at 1328.

     12          Having concluded that the agreement is ambiguous, the court may

     13    consider parol evidence.

     14          Generally, if a contract in writing is so ambiguous or
                 obscure in its terms that the contractual intentions of the
     15          parties cannot be understood from a mere inspection of the
                 instrument, extrinsic evidence of the subject matter, of
     16          the relationship of the parties to each other, and of the
                 facts and circumstances surrounding them when they entered
     17          into the contract, may be received to enable the court to
                 make a proper interpretation of the instrument.
     18

     19    12A Romualdo P. Eclavea et al., Ill. Law and Prac., Contracts § 168

     20    (October 2021).

     21          Here, two key species of parol evidence inform the court’s

     22    decision and cut in opposite directions.     First, where a contract is

     23    ambiguous courts may consider preliminary discussions by the parties:

     24          Generally, the intention of the parties is not to be
                 determined from previous understandings or agreements, but
     25          from the instrument[,] which is executed as their final
                 agreement, otherwise written evidence of an agreement would
     26          amount to nothing. Even though an instrument is executed
                 independently of any prior agreement of larger scope,
     27          however, other agreements preceding its execution may
                 sometimes be considered in order to determine the intention
     28          of the parties in their use of specific words or clauses.
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      1          Thus, as part of the parol evidence to interpret an
                 ambiguous contract, a court may consider preliminary
      2          negotiations between the parties in order to determine the
                 meaning of contract provisions and the intent of the
      3          parties.

      4    12A Romualdo P. Eclavea et al., Ill. Law and Prac., Contracts § 133

      5    (October 2021) (emphasis added).

      6          Second, the court may consider the parties’ actions with respect

      7    to the contract:

      8          Where the terms of a written agreement are in any respect
                 ambiguous, uncertain, or doubtful, and the parties have by
      9          their own acts and conduct placed a practical construction
                 on the provisions of the contract, evidence of their acts
     10          or conduct is admissible to enable the court to determine
                 the intention of the parties at the time the contract was
     11          made, and it makes no difference whether such acts are
                 contemporaneous or subsequent....Courts have a right to
     12          assume that the parties know best what they meant, and, if,
                 in reducing their agreement to writing, words or terms have
     13          been used that render the contract ambiguous or uncertain,
                 the construction by the parties thereto, as shown by their
     14          acts thereunder, cannot help but be of value in
                 ascertaining the true intent and meaning of such contract.
     15

     16    12A Romualdo P. Eclavea et al., Ill. Law and Prac., Contracts § 169

     17    (October 2021) (emphasis added).

     18          There is a genuine dispute about the material facts pertaining to

     19    the timing and the relative right of GKC/Sedgwick and the NewDelman

     20    Group as to settlement proceeds in the event of insufficiency.     Some

     21    evidence suggests GKC/Sedgwick’s reading.     For example, the Forward

     22    Purchase Agreement (between Grail Semiconductor and GKC/Sedgwick only)

     23    and the Niro firm’s actions in paying not only itself but also

     24    GKC/Sedgwick, while withholding payment to Third Priority creditors,

     25    suggests that Sedgwick’s construction of the Priority Agreement is

     26    correct.   Other evidence, such GKC/Sedgwick’s execution of the Higgins

     27    draft Priority Agreement, without objection to the reordering of

     28    priorities to proceeds, and the post-settlement Letter of Intent
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      1    negotiated by Grail Semiconductor and GKC/Sedgwick after settlement

      2    (which would be redundant under Sedgwick’s construction), are indicia

      3    that the NewDelman construction more accurately reflects the intention

      4    of the parties.   For these reasons, a genuine dispute of facts exits,

      5    and summary judgment will be denied as to the interpretation of the

      6    Priority Agreement.

      7          For these reasons, Sedgwick’s motion and the NewDelman Group’s

      8    motions will be denied. 8

      9          C.    The NewDelman Group’s Counterclaim Against Sedgwick: Breach
                       of Contract and Tort Claims
     10

     11          Notwithstanding that this court has ruled that Sedgwick has not

     12    demonstrated that the Priority Agreement was accepted, as to the

     13    issues raised by the NewDelman Group’s counterclaim, this court finds

     14    that Sedgwick is judicially estopped from denying the binding nature

     15    of the Priority Agreement. 9   New Hampshire v. Maine, 532 U.S. 742, 750

     16    (2001) (three factor test: (1) inconsistent positions; (2) success in

     17    prior proceeding; and (3) unfairness); Baughman v. Walt Disney, 685

     18    F.3d 1131, 1133 (9th Cir. 2012).     Here, Sedgwick convinced the court

     19
           8 Sedgwick’s request to summarily adjudicate the NewDelman Group’s 22
     20    affirmative defenses is denied. Local Bankruptcy Rule 9014-1(d)(3)(C)
           requires that the memorandum of points and authorities provide “a succinct
     21    and reasoned explanation of the moving party’s entitlement to relief.”
           Sedgwick’s memorandum of points and authorities misstates the applicable
     22    burden of proof; at the outset it allocates it to the defendants. Mem. P. &
           A. 27:9-28:2, ECF No. 257. Correctly stated, “Where the non-moving party
     23    [e.g., defendant] bears the burden of proof at trial, the moving party need
           only prove that there is an absence of evidence to support the non-moving
     24    party’s case. Where the moving party meets that burden, the burden then
           shifts to the non-moving party to designate specific facts demonstrating the
           existence of genuine issues for trial.” In re Oracle Corp. Sec. Litig., 627
     25
           F.3d 376, 387 (9th Cir. 2010). Without reference to any of the 105
           Undisputed Facts offered in support of its motion, it states that the
     26    NewDelman Group “has not identified any valid affirmative defense” to the
           complaint. Mem. P. & A. 27:9-10, ECF No. 257. This is insufficient and the
     27    motion will be denied.
           9 As to the binding nature of the Priority Agreement, the court declines to
     28    apply judicial estoppel against the NewDelman Group.
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      1    to sequester funds due the NewDelman Group based on representations of

      2    the existence of an intercreditor agreement.       Having done so, Sedgwick

      3    cannot now deny the binding nature of that agreement.       Common Ex.,

      4    Order Granting Motion to Approve Compromise para. 7(e) 397-399, ECF

      5    No. 244 (wherein the court sequestered funds based on Sedgwick’s

      6    claims as to their priority under the intercreditor agreement).

      7                1.    Overshadowing issues
      8          Sedgwick advances two preemptive arguments: (a) the NewDelman

      9    Group’s claims against it are derivative, and that the Chapter 7

     10    trustee is the proper party in interest; and (b) payment of the

     11    proceeds under the Priority Agreement would have been avoided as a

     12    preferential transfer, which bars the NewDelman Group’s action.       This

     13    court has previously resolved each of these arguments against

     14    Sedgwick.    Mem. 2:8-7:25, ECF No. 51.

     15                      a.   Standing
     16          The NewDelman Group’s claims against Sedgwick are direct, not

     17    derivative and, even if they were derivative, the NewDelman Group is

     18    entitled to pursue them, Estate of Spirtos v. One San Bernadino County

     19    Superior Court Case No. SPR02211, 443 F.3d 1172 (9th Cir. 2006);

     20    CAMOFI Master LDC v. Associated Third Party Administrators, 2018 WL

     21    839134 *3 (N.D. Cal. February 13, 2018).       As a rule, Chapter 7

     22    trustees have the exclusive right to assert avoidance actions, e.g.,

     23    11 U.S.C. §§ 544, 545, 547-549, and those actions that are derivative,

     24    i.e., “if the gravamen of the complaint is injury to the corporation,

     25    or to the whole body of its stock or property...or if it seeks to

     26    recover assets of the corporation or to prevent the dissipation of its

     27    assets.”    CAMOFI Master LDC, 2018 WL 839134 *4.     In contrast,

     28    creditors retain the right to pursue direction actions, that is those
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      1    “where the plaintiff’s injuries ‘were not incidental to the damages to

      2    the corporation.”      Id.   Here, The NewDelman Group’s claims arise out

      3    of an intercreditor agreement and are direct.

      4          But even if the claims are derivative, the NewDelman Group may

      5    pursue them.   At the outset, the trustee has consented to the

      6    NewDelman Group prosecuting these claims.          Estate of Spirtos, 443 F.3d

      7    at 1175 (trustee may consent to suit by creditors); Avalanche Mar.,

      8    Ltd. v. Parekh (In re Parmetex, Inc.), 199 F.3d 1029, 1031 (9th Cir.

      9    1999).    And the trustee consented to, and the court approved,

     10    creditors’ pursuit of their claims against Sedgwick.         Common Ex.,

     11    Order Granting Motion to Approve Compromise para. 7(e) 397-399, ECF

     12    No. 244 (“the Subordinated Parties (as defined in the Settlement

     13    Agreement) shall be required to file any Affirmative Claims Against

     14    Sedgwick as a crossclaim and/or counterclaim in the Priority

     15    Proceedings...”).

     16          Moreover, even if the consent was ineffective, the estate no

     17    longer has any interest in these claims.          As a rule, scheduled

     18    property of the estate revests in the debtor when the case closed.         11

     19    U.S.C. § 554(c); Stevens v. Whitmore (In re Stevens), 15 F.4th 1214

     20    (9th Cir.    2021).    Here, the debtor did schedule claims against GKC.

     21    Schedule A/B Item 75, ECF No. 80.       Grail Semiconductor’s estate is

     22    closes.   Final Decree, ECF No. 1440.        For each of these reasons, the

     23    NewDelman Group has standing.

     24                      b.     Avoidable preferences
     25          There is no authority for the proposition that voidability, e.g.,

     26    as a preferential transfer, 11 U.S.C. § 547, constitutes a defense to

     27    state law contract and/or tort actions.         That payment to the NewDelman

     28    Group after the settlement with Mitsubishi Electric would be a
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      1    voidable preference is almost a certainty.     11 U.S.C. § 547(b);

      2    Compare In re Lewis W. Shurtleff, Inc., 778 F.2d 1416, 1421 (9th Cir.

      3    1985) (“as long as the distribution in bankruptcy is less than one-

      4    hundred percent, any payment “on account” to an unsecured creditor

      5    during the preference period will enable that creditor to receive more

      6    than he would have received in liquidation had the payment not been

      7    made”), with Trustee’s Final Report, ECF No. 1436) (creditors received

      8    a 20.52% dividend).    Affirmative defenses to such a preferential

      9    payment appear inapplicable.    11 U.S.C. § 547(c).

     10          Beyond that, since this in the nature of an affirmative defense,

     11    Fed. R. Civ. P. 8, incorporated by Fed. R. Bankr. P. 7008, Sedgwick

     12    bears the initial burden of proof.    S. California Gas Co. v. City of

     13    Santa Ana, 336 F.3d 885, 888 (9th Cir. 2003).    That a preference, even

     14    a large one, exists is not evidence that the trustee would have

     15    actually avoided it.   The Chapter 7 trustee has discretion with

     16    respect to pursuing, or refusing to pursue, avoidance actions.       Matter

     17    of Taxman Clothing Co., 49 F.3d 310, 315 (7th Cir. 1995); In re V.

     18    Savino Oil & Heating Co., 91 B.R. 655, 656 (Bankr.E.D.N.Y.1988).

     19    (“[t]he commencement of litigation by a trustee or debtor-in-

     20    possession on behalf of an estate in bankruptcy under the avoidance

     21    provisions is permissive and not mandatory”).     The decision to pursue

     22    a preference action involves a careful weighing of the risks and costs

     23    against the prospects of recovery:

     24          Such a decision involves weighing a myriad of factors and
                 often requires making the decision at a time when not all
     25          of the factual inputs are available and when the estate
                 does not have money available to conduct an expansive
     26          investigation of the facts. These factors include: the
                 factual and legal merits of the prospective action; the
     27          probable value of the recovery to the estate; the probable
                 cost of the action to the estate. In making a decision, a
     28          trustee, cognizant of his fiduciary role, must avoid
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      1          spurious lawsuits as well as those which, while having
                 theoretical legal merit, would be unduly expensive to the
      2          estate, involve undue risk to the estate or likely result
                 in minimal recovery for the estate.
      3

      4    In re Haugen Const. Serv., Inc., 104 B.R. 233, 240–41 (Bankr. D.N.D.

      5    1989) (emphasis added), citing In re Acadiana Elec. Service, Inc., 66

      6    B.R. 164, 165 (Bankr. W.D.La.1986).

      7          Here, there has been no showing that trustee Carello would have

      8    attempted to avoid such a payment.    And Trustee Carello may not so

      9    testify.   Fed. R. Evid. 611 (speculation); Common Ex., Settlement

     10    Agreement § 8(a) 405, ECF No. 244 (“Trustee shall take no position

     11    with respect to any prejudgment remedies sought by Sedgwick”).

     12    Finally, that two of the three members of the NewDelman Group reside

     13    in the Principality of Monaco, Agreed Facts 3:19-22, ECF No. 240,

     14    suggests difficulties in collection that may well have been the

     15    deciding factor in a decision to forego avoidance.

     16          For these reasons the NewDelman Group’s motion will be granted as

     17    to standing and the preference issues; Sedgwick’s motion will be

     18    denied.

     19               2.    Breach of contract

     20          In the State of Illinois, a breach of contract claim requires

     21    that the plaintiff plead and prove: “(1) the existence of a valid and

     22    enforceable contract; (2) substantial performance by the plaintiff;

     23    (3) a breach by the defendant; and (4) resultant damages.”    W.W.

     24    Vincent & Co. v. First Colony Life Ins. Co., 351 Ill.App.3d 752, 759

     25    (2004), citing Gonzalzles v. American Express Credit Corp., 315

     26    Ill.App.3d 199, 206 (2000).

     27          Assuming that the Priority Agreement bound the parties, the Niro

     28    firm was contractually obligated to disburse in a manner consistent
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      1    with its terms, however that is eventually construed; Sedgwick was not

      2    so obligated.

      3          Absent ambiguity, a party’s contractual duties under a written

      4    agreement are defined by the writing.     Air Safety, Inc. v. Tchrs.

      5    Realty Corp., 185 Ill.2d 457, 462–63 (1999); Martindell v. Lake Shore

      6    Nat. Bank, 15 Ill.2d 272, 283 (1958); People v. Dummer, 274 Ill. 637,

      7    640 (1916) (a contract is “an agreement....to do or not to do a

      8    particular thing”); Landretto v. First Trust & Sav. Bank of Chicago,

      9    333 Ill. 442 (1928); 12A Romualdo P. Eclavea et al., Ill. Law and

     10    Prac., Contracts § 240 (October 2021) (“[a]s a general rule, the

     11    parties to a valid contract are bound to perform it according to its

     12    terms”) (emphasis added).

     13          Assuming that it does, in fact, bind the parties and that the

     14    NewDelman Group’s construction is correct, the Priority Agreement

     15    contained two covenants: (1) an allocation of the Mitsubishi Electric

     16    litigation proceeds among specified creditors; and (2) payment of

     17    those amounts “directly by Niro, Haller and Niro from their trust

     18    account” to those creditors.   Common Ex., Priority Agreement 754-756,

     19    ECF No. 246.    All signatories to the agreement agreed to the

     20    allocation of proceeds; the Niro firm, and only the Niro firm, agreed

     21    to undertake distribution to creditors from the Niro firm’s trust

     22    account.   GKC/Sedgwick never promised to undertake proceeds

     23    distribution.

     24          Implicit in the NewDelman Group’s argument is that GKC/Sedgwick’s

     25    execution of the Priority Agreement renders it jointly and severally

     26    liable for the Niro firm’s breach of the Priority Agreement.

     27    Certainly, the State of Illinois recognizes joint and several

     28    contractual liability where the signatories to an agreement so intend.
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      1    Midland Credit Adjustment Co. v. Donnelley, 219 Ill.App. 271 (1920);

      2    Brokerage Resources, Inc. v. Jordan, 80 Ill.App.3d 605, 608-610

      3    (1980); Pritchett v. Asbestos Claims Management Corp., 332 Ill.App.3d

      4    890, 898 (2002).

      5          A necessary, but not sufficient, condition for imposing joint and

      6    several liability is two or more parties promising the same

      7    performance to a third party. Brokerage Resources, 80 Ill.App.3d at

      8    608 (“If two or more parties to a contract owe a joint and several

      9    duty...”); Pritchett, 332 Ill.App.3d at 898; Flynn v. Levy, 832

     10    F.Supp.2d 951, 956 (N.D. Ill. 2011) (“Unlike co-signors on a

     11    promissory note, or parties to mortgage agreements or apartment

     12    leases, where the parties agree to be jointly liable for a financial

     13    obligation, nothing in the Shareholders' Agreement supports

     14    Plaintiffs' position that it created anything other than an individual

     15    obligation”); Becka v. Dieterich, 2015 WL 1887844 *4 (N.D. Ill. April

     16    24, 2015) (“Here, the language of the Retainer Agreements reflects a

     17    joint promise among ‘Clients’ to pay Becka all legal fees incurred in

     18    the two actions”); Restatement (Second) Contracts § 288(1)

     19    (1981)(“Where two or more parties to a contract make a promise or

     20    promises to the same promisee, the manifested intention of the parties

     21    determines whether they promise that the same performance or separate

     22    performances shall be given”).

     23          The question of whether a contract contains the same or separate

     24    promises is entirely one of contract interpretation.   See Filosa v.

     25    Pecora, 18 Ill.App.3d 123 (1974); Combs v. Steele, 80 Ill. 101 (1875)

     26    (“Contracts will be construed to be joint or several, as the case may

     27    be, where the intent of the respective parties appears on the face of

     28    the obligations, and that construction will be adopted which is most
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      1    consistent with the words employed to express the undertaking of the

      2    several parties”); Corrington v. Pierce, 28 Ill.App. 211 (1988).     As

      3    the Restatement of Contracts explained it,

      4          The question whether two promisors promise the same or
                 separate performances is distinct from the question whether
      5          two promisors of the same performance are bound by “joint”
                 or by “several” duties or by both, but the two questions
      6          are sometimes confused. The question of what performances
                 are promised is entirely a question of interpretation of
      7          the promises, while the distinction between “joint” and
                 “several” duties is primarily remedial and procedural and
      8          is substantially abolished by statute in many
                 jurisdictions.
      9

     10    Restatement (Second) Contracts § 288, cmt. b (1981) (emphasis added).

     11          Having concluded that the Niro firm alone was to distribute

     12    litigation proceeds, the requisite same promise is absent, and

     13    GKC/Sedgwick may not be held liable, at least directly, for Niro’s

     14    breach of contract.

     15          For these reasons, Sedgwick’s motion will be granted, and the

     16    NewDelman Group’s motion will be denied.

     17               3.   Breach of the implied covenant of good faith and fair
                           dealing
     18

     19          The covenant of good faith and fair dealing does not impose

     20    duties that do not otherwise exist under the contract:

     21          Every contract contains an implied covenant of good faith
                 and fair dealing. The obligation of good faith and fair
     22          dealing is essentially used to determine the intent of the
                 parties where a contract is susceptible to two conflicting
     23          constructions. Problems involving the obligation of good
                 faith and fair dealing generally arise where one party to a
     24          contract is given broad discretion in performance. The
                 covenant of good faith requires that a party vested with
     25          contractual discretion exercise that discretion reasonably,
                 not arbitrarily, capriciously, or in a manner inconsistent
     26          with the reasonable expectation of the parties. Parties to
                 a contract, however, are entitled to enforce the terms of
     27          the contract to the letter and an implied covenant of good
                 faith cannot overrule or modify the express terms of a
     28          contract.
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      1    N. Tr. Co. v. VIII S. Michigan Assocs., 276 Ill.App.3d 355, 367 (1995)

      2    (internal citation omitted) (emphasis added).

      3          It is not “an independent source of duties for the parties to a

      4    contract.” Baxter Healthcare Corp. v. O.R. Concepts, Inc., 69 F.3d

      5    785, 792 (7th Cir. 1995) (interpreting Illinois law); Brooklyn Bagel

      6    Boys, Inc. v. Earthgrains Refrigerated Dough Prod., Inc., 212 F.3d

      7    373, 381 (7th Cir. 2000).

      8          Having ruled that GKC/Sedgwick was not contractually obligated to

      9    disburse settlement funds under the contract, it may not now be held

     10    to answer for the Niro firm’s failure to do so.    As a result, Sedgwick

     11    is entitled to summary judgment on that issue.

     12          For these reasons, Sedgwick’s motion will be granted, and the

     13    NewDelman Group’s motion will be denied.

     14               4.   Conversion
     15          A plaintiff alleging conversion must prove: “(1) his right to the

     16    property; (2) that this right includes the absolute, unconditional

     17    right to immediate possession of the property; (3) he has demanded

     18    possession of the property; and (4) the defendant took control or

     19    claimed ownership of the property wrongfully and without

     20    authorization.” MacNeil Auto. Prod., Ltd. v. Cannon Auto. Ltd., 715 F.

     21    Supp.2d 786, 796 (N.D. Ill. 2010), quoting Edwards v. City of Chi.,

     22    389 Ill.App.3d 350, 353 (2009).

     23          Two particular issues of law are worthy of note.   First, Illinois

     24    recognizes conversion of money under some circumstances.    “Money may

     25    be the subject of conversion, but it must be capable of being

     26    described as a specific fund or chattel although it need not be

     27    specifically earmarked.”    34A David S. Taber, Ill. Law and Prac.,

     28    Trover and Conversion § 7 (October 2021); 3Com Corp. v. Electronics
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      1    Recovery Specialists, Inc., 104 F.Supp.2d 932, 940 (N.D. Ill. 2000);

      2    Horbach v. Kaczmarek, 934 F. Supp. 981, 986 (N.D. Ill. 1996), decision

      3    aff'd, 288 F.3d 969 (7th Cir. 2002).       Illinois courts have long

      4    understood that an agreement that distributes funds from a segregated,

      5    i.e., trust, account in a specific amount or percentage is sufficient

      6    to support a claim for conversion.     Chicago Dist. Council of

      7    Carpenters Welfare Fund v. Gleason & Fritzshall, 295 Ill.App.3d 719

      8    724-727 (1998) (joint check for $50,000); Roderick Development

      9    Investment Co. v. Community Bank, 282 Ill.App.3d 1052, 1058-1065

     10    (1996) (5% interest in specified payments); see also Mid-America Fire

     11    & Marine Insur. Co. v. Middleton, 127 Ill.App.3d 887, 892-893 (1984)

     12    (agreement to reimburse attorneys a “proportionate share of all

     13    reasonable costs incurred” rendered the contract sufficiently

     14    indeterminate to fall under conversion; Sutherland v. O’Malley, 882

     15    F.2d 1196, 1200-1201 (7th Cir. 1989) (agreement between co-counsel to

     16    split attorney’s fees “on a fifty-fifty basis or [by some] other

     17    equitable arrangement based on the degree of efforts” too indefinite).

     18          Second, mistake of law or fact is not a defense to conversion.

     19    As one court summarized conversion:

     20          Although conversion is considered an intentional tort
                 because it requires ‘an intentional exercise of dominion or
     21          control over a chattel’ it does not require proof of
                 malice, culpability, or conscious wrongdoing. It is also
     22          not necessary to show an intent to interfere with the
                 rights of others, however, an act which is merely negligent
     23          is not sufficient to establish conversion.
     24    Martel Enterprises v. City of Chicago, 223 Ill. App.3d 1028, 1032–33

     25    (1991) (internal citations omitted).

     26          The defendant’s consciousness of wrongdoing is not an element of

     27    an action for conversion.   See Morrisette v. United States, 342 U.S.

     28    246, 270 (1952); Firstar Bank, N.A. v. Faul Chevrolet, Inc., 2003 WL
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      1    548365 *5 (N.D. Ill. February 25, 2003), quoting W. Keeton, D. Dobbs,

      2    R. Keeton, & D. Owens, Prosser and Keeton on Torts § 15, pp. 92-93

      3    (5th ed. 1984) (“The intent required is not necessarily a matter of

      4    conscious wrongdoing.       It is rather an intent to exercise dominion or

      5    control over the goods which is in fact inconsistent with plaintiff’s

      6    rights...A mistake of law or fact is no defense”); Caterpillar

      7    Financial Services Corp. v. People’s Nat. Bank, N.A., 2012 WL 2520922

      8    *3-5 (S.D. Ill. June 28, 2012) (conversion action for retention of 35

      9    pieces of mining equipment against competing secured creditor who

     10    believed it held a superior security interest).

     11            Here, the second and third elements of conversion are without

     12    dispute.     The disputed monies have been sufficiently identified by

     13    source, i.e., settlement proceeds in the Niro firm’s trust account.

     14    Roderick Development, 282 Ill.App.3d at 1058-1059 (“the money must be

     15    a specified identifiable fund”); In re Thebus, 108 Ill.2d 255, 260-

     16    262, (1985).      Moreover, the amounts due NewDelman, Higgins and Holze

     17    had property rights in the amounts of 5%, 3%, and 1%, respectively, of

     18    the “gross recoveries” and are also sufficiently specific.          That some

     19    calculation will be required does not defeat the conversion action.

     20    Chicago Dist. Council of Carpenters Welfare Fund, 295 Ill.App.3d at

     21    726. The amounts due are absolute and unconditional and due

     22    immediately.      Each had been approved by Grail Semiconductor’s Board of

     23    Directors.     Common Ex., Letter from Higgins to Hofer July 5, 2011,

     24    688-689, ECF No. 246 (Higgins); Agreed Facts 9:22-27, ECF No. 240

     25    (Higgins); Common Ex., Minutes of Special Board of Directors Meeting

     26    on October 4, 2011, 694-695 ECF No. 246 (NewDelman and Holze); Agreed

     27    Facts 9:14-17, ECF No. 240 (NewDelman and Holze). 10        Common Ex.,

     28    10   Director Gilbert’s declaration does not create a genuine issue of fact.   He
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      1    Priority Agreement 754-764, ECF No. 246.        The NewDelman Group demanded

      2    payment.   Common Ex., Email from Higgins to Keller dated November 11,

      3    2015, 1009 ECF No. 250.    Finally, if Sedgwick retained more of the

      4    funds than due to them their retention was wrongful.       Scheduling Corp.

      5    of Am. v. Massello, 119 Ill. App.3d 355, 359 (1983); Hobson's Truck

      6    Sales, Inc. v. Carroll Trucking, Inc., 2 Ill.App.3d 978, 982 (1971).

      7    At least for the purposes of liability, it is of no significance that

      8    Sedgwick may have believed that it was entitled to the funds received

      9    by the Niro firm.

     10           A genuine issue of fact exists as to the first and fourth

     11    elements of conversion.    The Priority Agreement is key to the

     12    conversion action, i.e., whether Sedgwick received some of the

     13    NewDelman Group’s monies.    The parties do not dispute that

     14    GKC/Sedgwick received $12,269,881.91.       Agreed Facts 14:15-16, ECF No.

     15    240.   If Sedgwick’s construction is accurate, it would only be liable

     16    for its aliquot share of the $3 million reduction that GKC/Sedgwick

     17    agreed to, if it did so agree, at the mediation.        Compare Common Ex.,

     18    Hofer Dep. 1616:11-1617:24, ECF No. 251 (GKC/Sedgwick agreed to $3

     19    million discount), with Common Ex., Aff. Keller 1814:13-16, ECF No.

     20    252 (denying disagreement absent global resolution of creditor

     21    claims).   If the NewDelman Group’s construction is accurate, Sedgwick

     22    would be liable for amounts encompassing the in pari passu

     23

     24    stated, “On October 14, 2015, Grail’s Board of Directors passed resolutions
           approving the distribution of Mitsubishi Proceeds to certain secured
           creditors and decided not to pay any other creditors at that time (including
     25
           the NewDelman Group). This decision was made...to allow the company to
           investigate and make a determination as to the validity of those creditor
     26    claims.” Gilbert decl. 1828:25-1829:3, ECF No. 252. That is so for two
           reasons. First, it is contrary to stipulated facts. Agreed Facts 9:14-17,
     27    22-27, ECF No. 240. Second, the board of directors meeting occurred on
           October 14, 2015, which is after the Niro Firm disbursed funds on October 9-
     28    13, 2015. Simply put, the conversion had already occurred.
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      1    distributions that should have been made plus the $3 million

      2    reduction, if that was agreed to at the mediation.

      3          For these reasons, the NewDelman Group’s motion will be granted

      4    as to the second and third elements of conversion and will be

      5    otherwise denied; Sedgwick’s motion will be denied.

      6               5.    Civil conspiracy
      7          The NewDelman Group argues that the undisclosed side agreement,

      8    i.e., the Letter of Intent, between Niro, GKC/Sedgwick and Grail

      9    Semiconductor that authorized immediate disbursement of settlement

     10    proceeds to some, but not all signatories of the Priority Agreement,

     11    gives rise to an action for civil conspiracy and that liability

     12    extends to GKC/Sedgwick.

     13          Civil conspiracy is a distinct cause of action.    Dowd & Dowd,

     14    Ltd. v. Gleason, 181 Ill.2d 460, 486 (1998); Adcock v. Brakegate,

     15    Ltd., 164 Ill.2d 54 (1994).    It has the following elements: “(1) an

     16    agreement between two or more persons to participate in an unlawful

     17    act or a lawful act in an unlawful manner, (2) an injury caused by the

     18    defendant, and (3) an overt act committed in furtherance of the common

     19    scheme.”   11 Russell J. Davis, Ill. Law and Prac., Conspiracy § 2

     20    (October 2021), citing Redelmann v. Claire Sprayway, Inc., 375

     21    Ill.App.3d 912, 923 (2007); Suburban 1, Inc., v. GHS Mortgage, LLC,

     22    358 Ill.App.3d 769 (2005).    Proximate cause between the conspiracy and

     23    the injury is also an element.    Reico v. GR-MHA Corp., 366 Ill.App.3d

     24    48, 61 (2006); Scott v. Aldi, Inc., 301 Ill.App.3d 459, 464, (1998);

     25    Restatement (Second) of Torts § 876, Comment d (1979).    Civil

     26    conspiracies may be oral.     Reel v. City of Freeport, 61 Ill.App.2d

     27    448, 453 (1965) (“The agreement need not be written but may be an oral

     28    undertaking or a scheme evidenced by acts of the parties”).
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      1          Knowing participation is required.

      2          While civil conspiracy is based upon intentional activity,
                 the element of intent is satisfied when the defendant
      3          knowingly and voluntarily participates in a common scheme
                 to commit unlawful acts or a lawful act in an unlawful
      4          manner. Accidental, inadvertent, or negligent participation
                 in a common scheme does not amount to a civil conspiracy.
      5          Moreover, a mere knowledge of the fraudulent or illegal
                 actions of another is not enough to show a civil
      6          conspiracy.
      7    11 Russell J. Davis, Ill. Law and Prac., Conspiracy § 1 (October 2021)

      8    (emphasis added).

      9          As the Illinois Supreme Court articulated the standard:

     10          A defendant who understands the general objectives of the
                 conspiratorial scheme, accepts them, and agrees, either
     11          explicitly or implicitly to do its part to further those
                 objectives, however, is liable as a conspirator. (Jones v.
     12          City of Chicago (7th Cir.1988), 856 F.2d 985, 992.) Once a
                 defendant knowingly agrees with another to commit an
     13          unlawful act or a lawful act in an unlawful manner, that
                 defendant may be held liable for any tortious act committed
     14          in furtherance of the conspiracy, whether such tortious act
                 is intentional or negligent in nature.
     15

     16    Adcock v. Brakegate, Ltd., 164 Ill.2d 54, 64 (1994) (emphasis added).

     17          Civil conspiracy extends liability for the wrongful actions

     18    beyond the persons directly involved to those who merely participated

     19    in it.

     20          A cause of action for civil conspiracy has the effect of
                 extending liability for a tortious act beyond the active
     21          tortfeasor to individuals who did not act but only planned,
                 assisted, or encouraged the act. The determination of
     22          liability for a claim of civil conspiracy alleging the
                 assistance or encouragement of a tortious conduct may be
     23          based on the same factors used to determine causation in a
                 case of negligence. Moreover, the basis of the civil
     24          conspiracy does not rely on the particular combination of
                 roles performed by the conspirators, rather, the conspiracy
     25          may be inferred where the parties pursue the same object by
                 common means, one performing one part and another
     26          performing another part.
     27    11 Russell J. Davis, Ill. Law and Prac., Conspiracy § 8 (October 2021)

     28    (emphasis added).
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      1          Conspirators are jointly and severally liable for any and all

      2    damages which flow from the conspiracy.    Hoffman-La Roche, Inc. v.

      3    Greenberg, 447 F.2d 872 (7th Cir. 1971) (applying Illinois law); News,

      4    Inc. v. Buescher, 81 F.Supp. 741 (N.D. Ill. 1949) (applying Illinois

      5    law); Selimos v. Christ, 331 Ill. App. 412 (1947).

      6          Thus, once a conspiracy has been established, every act or
                 declaration of any of the conspirators in furtherance of
      7          the common purpose is regarded as an act binding on all,
                 and every conspirator is liable for all of the acts of each
      8          of the coconspirators done in furtherance of the objects of
                 the conspiracy committed before or after that person's
      9          entry into the conspiracy.
     10    11 Russell J. Davis, Ill. Law and Prac., Conspiracy § 8 (October

     11    2021).

     12          Further, Illinois law provides that conspiratorial liability

     13    grows with the conspiracy.   As the Seventh Circuit Court of Appeals

     14    explained it:

     15          [U]nder Illinois law one who participates actively in
                 launching a conspiracy with limited aims, who knows that
     16          the aims have been exceeded, and who knowingly obtains
                 direct monetary benefits from the expanded conspiracy, is a
     17          participant in that conspiracy as well as in the narrower
                 one from which it grew. He has joined the broader
     18          conspiracy and his liability grows with it.
     19    Hartford Acc. & Indem. Co. v. Sullivan, 846 F.2d 377, 385 (7th Cir.

     20    1988).

     21          The facts giving rise to this adversary proceeding fit neatly

     22    within the expanded conspiracy described in Sullivan.    The co-

     23    conspirators are Grail Semiconductor, Richard Gilbert, GKC/Sedgwick,

     24    Ray Niro, and the Niro firm.   At the outset, the conspiracy was

     25    limited in scope.   It called for payment of GKC/Sedgwick’s loan, i.e.,

     26    $12,269,881.61.   It was memorialized in the “Letter of Intent.”

     27    Common Ex., Gilbert email dated October 12, 2015, 930, ECF No. 249;

     28    Agreed Facts 16:6-10, ECF No. 240; Common Ex., Letter of Intent 931-
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      1    932, ECF No. 249; Common Ex., Gruener email dated October 14, 2015,

      2    937-938, ECF No. 249; Common Ex., Keller email to Gilbert dated

      3    October 14, 2015, 937, ECF No. 240; Fed. R. Bankr. 801(d)(2)(E).     That

      4    the Letter of Intent was never signed is of no import.    Reel v. City

      5    of Freeport, 61 Ill.App.2d 448, 453 (1965) (oral agreements are

      6    sufficient).   That the parties agreed to its terms and then acted on

      7    it is sufficient.

      8          Later, the scope expanded to include payment to some of the Third

      9    Priority creditors, i.e., First Class Legal, Donald Stern and Grail

     10    Semiconductor, in a manner other than that specified in the Priority

     11    Agreement.   On October 7, 2015, Director Gilbert emailed Ray Niro and

     12    Ashley Keller and spoke of a “meeting with the attorneys relative to

     13    the ‘action plan’.”   Common Ex., Email from Gilbert to Keller and Niro

     14    dated October 7, 2015, 916, ECF 248.     This shows an expanded scope of

     15    the conspiracy.   Moreover, the Letter of Intent provides: “As further

     16    consideration of this agreement, GKC agrees that it will cooperate

     17    with Grail Semiconductor in the negotiation and settlement of

     18    competing claims against the proceeds of the MEUS Litigation.”     Common

     19    Ex., Letter of Intent 931-932, ECF No. 249 (emphasis added); Agreed

     20    Facts 16:6-10, ECF No. 240.   Within four days of transmission of the

     21    Letter of Intent, the Niro firm paid $2.75 million to Donald Stern and

     22    $2.25 million to Grail Semiconductor, Agreed Facts 14:17-20, ECF No.

     23    240, and Grail Semiconductor authorized the employment of GKC “to

     24    negotiate with the corporation’s remaining creditors any claims they

     25    may have.”   Common Ex., Minutes of Special Board Meeting, October 14,

     26    2015, 654, ECF No. 245.

     27          Causation is established by the existence of an agreement to

     28    distribute funds, later memorialized in the Letter of Intent, prior to
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      1    the date that the Niro firm initiated the wire transfer to Sedgwick.

      2    The wire transfer was initiated October 9, 2015.     Agreed Facts 14:15-

      3    16, ECF 240.   The early and full oral distribution agreement with

      4    Sedgwick predated the wire transfer.     On October 7, 2015, two days

      5    before the wire transfer, Director Gilbert wrote Ray Niro and Ashley

      6    Keller an email that spoke of an “action plan” and stated “I ran out

      7    of time today to draft the letter agreements we discussed.”     Common

      8    Ex., Email from Gilbert to Keller and Niro dated October 7, 2015, 916,

      9    ECF No. 248.   The Letter of Intent was sent on October 12, 2015,

     10    before the wire transfer was completed.     Agreed Facts 16:6-10, ECF No.

     11    240; Common Ex., Gilbert email to Keller, October 12, 2015, 930, ECF

     12    No. 249.

     13          As a result, a civil conspiracy exists between Grail

     14    Semiconductor, Sedgwick, and the Niro firm, save only the question of

     15    whether the object of the conspiracy was an unlawful act.     Here, the

     16    “unlawful act” element came in two flavors: (a) violation of the

     17    Priority Agreement with respect to the timing and precedence payment

     18    of creditors; and (b) the Niro firm’s payment to Sedgwick without

     19    payment or notice to the NewDelman Group.

     20                     a.   Breach of contract
     21          Illinois has long recognized that a party contractually bound may

     22    be held to answer for conspiring with a third party to breach that

     23    contract.   Bailey v. Meister Brau, Inc., 535 F.2d 982, 988-989 (7th

     24    Cir. 1976); Blivas v. Klein, 5 Ill.App.3d 280, 286 (1972) (“While it

     25    is true that a party cannot be sued in tort for inducing the breach of

     26    his own contract, he can be sued for conspiracy with a third person

     27    who has induced him to breach his contract resulting in actual

     28    damage.”); Regan v. Garfield Ridge Trust and Sav. Bank, 220 Ill.App.3d
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      1    1078, 1091 (1991); 11 Russell J. Davis, Ill. Law and Prac., Conspiracy

      2    § 5 (October 2021).

      3          “A claim for a conspiracy to breach a contract depends upon one

      4    party breaching its contract and the other party inducing that party

      5    to breach.” First Fin. Bank, N.A. v. Bauknecht, 71 F.Supp.3d 819, 855

      6    (C.D. Ill. 2014).

      7          The Meister Brau decision is instructive.    Plaintiff Bailey had

      8    been the president, treasurer, a director, and chief operating officer

      9    of the James H. Black Company, which manufactured salad dressing.      The

     10    company was founded by James H. Black, Sr.     Black held 57,000 shares

     11    of the Black Company.    Bailey and a third party, Mrs. Harre, held the

     12    balance of the shares.    Black died, and Continental Illinois National

     13    Bank was his executor.    Bailey’s employment agreement gave him a 60-

     14    day right of first refusal to meet any purchase offer for stock held

     15    by Black or by his estate.    A third party, Meister Brau, Inc., offered

     16    to purchase the shares of the estate and those of Mrs. Harre for

     17    $980,000.   Bailey responded by exercising his right of first refusal.

     18    Continental refused to honor Bailey’s right.     Well before Bailey’s 60-

     19    day right of first refusal, Continental sold the Black estate shares

     20    to Meister Brau.    At the annual meeting of the Black Company

     21    shareholders, acting through an officer, Continental voted the Black

     22    estate shares.   A new Board of Directors (which excluded Bailey) was

     23    elected, Bailey was removed from his positions, his salary was reduced

     24    and, shortly thereafter, he was fired “for cause.”    Bailey brought

     25    suit against Continental (who as executor stood in Black’s shoes to

     26    the contract) and Foster, its attorney.    The District Court found that

     27    Continental, Foster, and Meister Brau had interfered with the right of

     28    first refusal and entered judgment against Continental for $307,000.
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      1    Continental appealed and argued that the successor-in-interest to the

      2    Black estate was bound by the Bailey-Black employment contract and

      3    “that under Illinois law, a party to a contract may not be held liable

      4    in tort to another contracting party for combining with third parties

      5    to bring about a breach of that contract.”      Id. at 988.   The Court of

      6    Appeals affirmed that portion of the ruling, stating:

      7          ...It held that even if Continental were considered a party
                 to the contract granting the right of first refusal, it was
      8          liable in tort since it had conspired with others to bring
                 the breach. In our view this holding was correct.
      9
                 State jurisdictions are in disagreement as to whether one
     10          contracting party may recover against another for
                 conspiring with third persons to breach the contract. Some
     11          jurisdictions hold that the only remedy the injured
                 contracting party has under such circumstances is for
     12          breach of contract. In other jurisdictions a party to a
                 contract who conspires with others to breach the contract
     13          is liable to the other contracting party in tort for so
                 doing.
     14
                 Illinois authority on this question takes the latter view,
     15          to the effect that a party to a contract is liable to
                 another contracting party in damages for conspiring with
     16          others to bring about a breach of the contract.
     17    Id. at 988-989 (internal citation omitted) (emphasis added).

     18          The Meister Brau court went further:

     19          Through its officers, Continental played an active part in
                 bringing about the breach of Bailey's first refusal right
     20          and received inducement from Meister Brau in the form of
                 indemnification against liability for its part in the
     21          transaction. Having thus actively participated in bringing
                 about a breach of a provision of a contract between Bailey,
     22          the Black Company, and the Black estate to which it was not
                 a party[,] Continental was liable to Bailey for the tort of
     23          unlawfully interfering with his contractual rights.
     24    Id. at 989 (emphasis added).

     25          Assuming that the Priority Agreement is construed as the

     26    NewDelman Group suggests, the case before the court is

     27    indistinguishable from Meister Brau.      Director Gilbert and

     28    GKC/Sedgwick, acting through Ashley Keller, negotiated early and full
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      1    payment of Sedgwick’s debt and, in exchange, Grail Semiconductor

      2    received GKC/Sedgwick’s promise to assist in the negotiation of other

      3    debts.   But until such time as the proper construction of the Priority

      4    Agreement is resolved, this court cannot determine whether the

      5    conspiracy involved an “unlawful act.”

      6                     b.   Fraud
      7          Illinois recognizes conspiracy to commit fraud.    Seefeldt v.

      8    Millikin Nat. Bank of Decatur, 154 Ill.App.3d 715, 719 (1987); Zokoych

      9    v. Spalding, 36 Ill.App.3d 654, 667 (1976).     Proof of conspiracy

     10    requires the aggrieved party to prove “a conspiracy” and the elements

     11    of fraud.   Seelfeldt, 154 Ill.App.3d at 719.

     12          As a rule, silence is not a sufficient basis for fraud.    Hirsch

     13    v. Feuer, 299 Ill.App.3d 1076, 1086 (1998).     But concealment of a

     14    material fact may form the basis of an action for fraud:

     15          (1) the defendant concealed a material fact under
                 circumstances that created a duty to speak; (2) the
     16          defendant intended to induce a false belief; (3) the
                 plaintiff could not have discovered the truth through
     17          reasonable inquiry or inspection, or was prevented from
                 making a reasonable inquiry or inspection, and justifiably
     18          relied upon the defendant's silence as a representation
                 that the fact did not exist; (4) the concealed information
     19          was such that the plaintiff would have acted differently
                 had he or she been aware of it; and (5) the plaintiff's
     20          reliance resulted in damages.
     21    Bauer v. Giannis, 359 Ill.App.3d 897, 902–903 (2005) (internal

     22    citation omitted).

     23          A duty to speak arises from a fiduciary or a confidential

     24    relationship.   Connick v. Suzuki Motor Co., 174 Ill.2d 482, 500

     25    (1996); Bremer v. Bremer, 411 Ill. 454, 465 (1952); D’Attomo v.

     26    Baumbeck, 394 Ill.Dec. 601, 622 (2015).   In some cases, a fiduciary

     27    relationship exits as a matter of law.    Van Dyke v. White, 2019 IL

     28    121454, 433 Ill.Dec. 153 (2019); Khoury v. Niew, 2021 IL App (2d)
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      1    200388 *8 (2021).    Examples of fiduciary relationships that exist as a

      2    matter of law are attorneys and clients, principals and agents,

      3    guardians and wards, and members of a partnership or joint venture.

      4    Bremer v. Bremer, 411 Ill. 454, 465 (1952); Khoury v. Niew, 2021 IL

      5    App (2d) 200388 *8 (2021).   In other cases, fiduciary relationships

      6    arise “as a matter of fact when one party places trust and confidence

      7    in another and the entrusted party thereby gains influence and

      8    superiority over the other party.”    Khoury v. Niew, 2021 IL App (2d)

      9    200388 *8 (2021); Van Dyke, 2019 IL 121452, 433 Ill.Dec. 153, 131

     10    N.E.3d 511 (2019).

     11          Absent some other source of duty, an attorney’s obligation is to

     12    the client, and only to the client, DeLuna v. Burciaga, 223 Ill.2d 49

     13    (2006), or, in very limited circumstances, third party beneficiaries

     14    of the attorney-client relationship. Oakland Police & Fire Ret. Sys.

     15    v. Mayer Brown, LLP, 861 F.3d 644, 653 (7th Cir. 2017) (describing the

     16    limited group of persons who are not clients that are deemed “primary

     17    beneficiaries of the attorney’s relationship with another client and

     18    that are owed a duty of care”).   Ordinarily, that limitation of the

     19    attorney’s duty also applies to the distribution of funds held by the

     20    attorney.   People ex rel. Illinois State Bar Ass'n v. Tracey, 314 Ill.

     21    434, 437, 145 N.E. 665, 666 (1924) (“[f]unds collected or received by

     22    an attorney for his client are trust funds, and it is the duty of such

     23    attorney to immediately pay them over to his client, unless there is

     24    some legal reason for not doing so, as in cases where the title or

     25    possession of the client is questioned by another”) (emphasis added);

     26    Dowling v. Chicago Options Associates, Inc., 226 Ill.2d 277 (2007)

     27    (judgment debtor’s law firm owed no duty to judgment creditor).

     28          But the law of agency provides one such additional source of duty
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      1    for attorneys that expands the pool of persons to whom a fiduciary

      2    duty is owed.   Attorneys act as agents, even for non-clients.   Kouba

      3    v. E. Joliet Bank, 135 Ill. App.3d 264, 267, 481 N.E.2d 325, 328

      4    (1985) (“[a]n attorney, broker, auctioneer and similar persons

      5    employed for a single transaction or for a series of transactions are

      6    agents, although as to their physical activities they are independent

      7    contractors. Hoffman v. Morton Co., 35 Ill.App.2d 97, 181 N.E.2d 821

      8    (1962); Restatement (Second) of Agency, explanatory notes § 1 comment

      9    e; at 11 (1957); People ex rel. Illinois State Bar Ass'n v. Tracey,

     10    314 Ill. 434, 437, 145 N.E. 665, 666 (1924) (recognizing a title

     11    dispute as creating duties to others).

     12          The principal is always “the source of power in an agency; it

     13    cannot be created by the declarations of the agent.”     1 Karl Oakes,

     14    Ill. Law and Prac., Agency § 3 (October 2021).    No particular words

     15    are required to create a principal-agent relationship.    Purgett v.

     16    Weinrank, 219 Ill.App. 28 (1920).   Moreover, the creation of such a

     17    principal-agent relationship does not depend on the existence of a

     18    contract, enforceable or otherwise.

     19          While agency is most often thought of as being contractual,
                 it is not necessary that the relationship arise out of
     20          contract. Since the relationship is not necessarily
                 contractual, consideration is not required for the creation
     21          of an agency and the capacity to contract on the part of
                 both parties is not necessary.
     22

     23    1 Karl Oakes, Ill. Law and Prac., Agency § 3 (October 2021).

     24          Illinois courts have long understood that a principal-agent

     25    relationship exists where one party put money or property into the

     26    other party’s hands to hold or to manage.     1 Karl Oakes, Ill. Law and

     27    Prac., Agency § 3 (October 2021); Andrews v. Votaw, 240 Ill.App.3d

     28    311, 320 (1926) (“[a]n agent is one who undertakes to manage some
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      1    affairs to be transacted for another by his authority on account of

      2    the latter, who is called the principal, and to render an account”);

      3    Dean v. Ketter, 328 Ill.App. 206, 210 (1946).    As one court explained

      4    it:

      5          A person who undertakes to manage some affair for another,
                 on the authority and for the account of the latter, who is
      6          called the principal, is an agent. Thus, when a person puts
                 his property in the hands of another to keep or manage, he
      7          creates, as between him and that other, the relation known
                 as principal and agent. Therefore, when Bernice Dopak
      8          accepted Catherine Morys' keys, agreed to collect rents for
                 her and take care of her building, she became Mrs. Morys'
      9          agent.
     10    In re Morys' Est., 17 Ill.App.3d 6, 9, 307 N.E.2d 669, 671 (1973)

     11    (internal citations omitted) (emphasis added).

     12          Here, the NewDelman Group appointed the Niro firm to receive and

     13    distribute the Mitsubishi Electric litigation proceeds under the terms

     14    of the Priority Agreement and the Niro firm agreed to do so.    As a

     15    result, a principal-agent relationship existed between the Niro firm

     16    and the NewDelman Group; as a result, the Niro firm owed those

     17    creditors a duty to speak.   Morys, 17 Ill.App.3d at 9.

     18          Material facts are those that would have caused the other party

     19    to “act differently knowing the information” or of the “type of

     20    information” that the opposing party “would be expected to rely” upon

     21    in making a decision.   Connick v. Suzuki Motor Co., 174 Ill. 2d 482,

     22    505, 675 N.E.2d 584, 595 (1996); Mackinac v. Arcadia Nat. Life Ins.

     23    Co., 271 Ill.App.3d 138, 141 (1995); 1 Karl Oakes, Ill. Law and Prac.,

     24    Agency § 15 (October 2021) (“[T]he agent must disclose to the

     25    principal all material facts relating to the agency and keep him or

     26    her informed on all matters which may come to the agent's knowledge

     27    which would in any way affect a transaction and the subject matter of

     28    the agency...”), citing Moehling v. W. E. O'Neil Const. Co., 20 Ill.
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      1    2d 255, 170 N.E.2d 100 (1960); Lerk v. McCabe, 349 Ill. 348, 182 N.E.

      2    388 (1932).

      3          The Niro firm’s payment to one group of creditors without notice

      4    to other groups was material.    That firm was faced with facially

      5    ambiguous instructions for the distribution of Mitsubishi Electric

      6    litigation proceeds and with insufficient funds to pay all signatories

      7    to the Priority Agreement.    The NewDelman Group expected full payment

      8    or, in the alternative, notice that the firm intended not to pay them.

      9    This information is of the type that a signatory to an intercreditor

     10    agreement would expect in deciding whether to exercise its rights to

     11    preclude the firm from proceeding with distribution.    The NewDelman

     12    Group might have informed the Niro firm that it objected to payment of

     13    Sedgwick or might have sought intervention by a court of proper

     14    jurisdiction to preclude the firm from doing so.   Because the Niro

     15    firm concealed the plan to distribute funds pursuant to the side deal,

     16    the NewDelman Group was deprived of the opportunity to protect its

     17    rights.

     18          Unlike conspiracy for breach of contract, construction of the

     19    contract is not necessary.   Faced with facially ambiguous instructions

     20    for distribution and insufficient funds to also pay the NewDelman

     21    Group, the Niro firm’s failure to speak prior to paying GKC/Sedgwick

     22    satisfies the first element of fraud by concealment.    The second and

     23    fourth elements of concealment fraud are also satisfied, and the Niro

     24    firm’s actions are in furtherance of the conspiracy such that Sedgwick

     25    is liable for those acts.    There is insufficient evidence with respect

     26    to the third and fifth elements of concealment fraud.

     27          For these reasons, the NewDelman Group’s motion will be granted

     28    as to all elements of a civil conspiracy and as to the first, second
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      1    and fourth elements of concealment fraud, and will be otherwise

      2    denied; Sedgwick’s motion will be denied.

      3    VI.   CONCLUSION

      4          For the reasons stated herein, Sedgwick FundingCo, LLC’s motion

      5    will be granted in part and denied in part; the NewDelman Group’s

      6    motion will be granted in part and denied in part.   The court will

      7    issue an order from chambers.

      8           January 20, 2022

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      1
                              Instructions to Clerk of Court
      2                             Service List - Not Part of Order/Judgment
      3    The Clerk of Court is instructed to send the Order/Judgment or other court generated
      4    document transmitted herewith to the parties below. The Clerk of Court will send the document
           via the BNC or, if checked ____, via the U.S. mail.
      5

      6    Attorneys for the Plaintiff(s)                 Attorney for the Defendant(s)
      7
           Bankruptcy Trustee (if appointed in the case) Office of the U.S. Trustee
      8                                                  Robert T. Matsui United States Courthouse
                                                         501 I Street, Room 7-500
      9                                                  Sacramento, CA 95814
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